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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)     *           MDL 2592
PRODUCTS LIABILITY LITIGATION    *
                                 *           SECTION L
THIS DOCUMENT RELATES TO:        *
      ALL CASES                  *           JUDGE ELDON E. FALLON
                                 *
                                 *           MAG. JUDGE NORTH
                                 *
************************


                           EXHIBIT 11 TO
      PLAINTIFFS’ MOTION TO PRECLUDE SPECULATIVE TESTIMONY
       FROM SIX DEFENSE EXPERTS ABOUT POTENTIAL OUTCOMES
                   FROM OTHER ANTICOAGULANTS




FILED UNDER SEAL
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   1                   UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
   2
   3
         IN RE:     XARELTO              )   MDL No.:      2592
   4     (RIVAROXABAN) PRODUCTS          )   Section:      L
         LIABILITY LITIGATION            )   Judge Eldon E. Fallon
   5                                     )   Mag. Judge North
                                         )
   6                                     )
                                         )
   7     JOSEPH J. BOUDREAUX,            )   Case No.:
         JR.                             )   2:14-CV-2720
   8     and LORETTA BOUDREAUX           )
   9
  10
  11    PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW
  12
  13
  14        Videotaped deposition of SAMMY KHATIB, M.D.,
  15    taken on Saturday, January 21, 2017, in the office
  16    of Irwin, Fritchie, Urquhart & Moore, L.L.C., 400
  17    Poydras Street, Suite 2700, New Orleans, Louisiana
  18    70130, commencing at 12:20 p.m.
  19
  20
  21
  22
  23
        Reported by:
  24    AURORA M. PERRIEN
        CERTIFIED COURT REPORTER
  25    REGISTERED PROFESSIONAL REPORTER

 Golkow Technologies, Inc.                                        Page 1 (1)
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                                                 Page 2                                                      Page 4
  1                INDEX                                   1 REPRESENTING JANSSEN PHARMACEUTICALS, INC.,
                                   Page                      JANSSEN RESEARCH & DEVELOPMENT, L.L.C., JANSSEN
  2                                                        2 ORTHO, L.L.C.:
       Caption.............................1               3    IRWIN, FRITCHIE, URQUHART & MOORE, L.L.C.
  3                                                             BY: JIMMY IRWIN, ESQ.
                                                                400 Poydras Street, Suite 2700
  4
       Appearances.........................3               4
                                                                New Orleans, Louisiana 70130-3280
                                                                504.310.2106
  5
       Agreement of Counsel................5               5
                                                                Jimmy@irwinllc.com
                                                           6
  6
       Witness' Certificate................105                  IRWIN, FRITCHIE, URQUHART & MOORE, L.L.C.
                                                           7    BY: MEERA U. SOSSAMON, ESQ.
  7
       Reporter's Certificate..............106                  400 Poydras Street, Suite 2700
  8                                                        8    New Orleans, Louisiana 70130-3280
                                                                504.310.2106
  9
              EXAMINATION                                  9    Msossamon@irwinllc.com
                                                          10    BARRASSO, USDIN, KUPPERMAN, FREEMAN &
 10
       MR. HONNOLD.........................7                    SARVER, L.L.C.
                                                          11    BY: RICHARD E. SARVER, ESQ.
 11
                                                                909 Poydras Street, Suite 2400
 12           EXHIBITS                                    12    New Orleans, Louisiana 70112
 13    Exhibit No. 1.......................12                   504.589.9700
 14
       Expert Report of Dr. Sammy Khatib                  13    Rsarver@barrassousdin.com
                                                          14    BARRASSO, USDIN, KUPPERMAN, FREEMAN &
       Exhibit No. 2.......................73                   SARVER, L.L.C.
 15    (articles in globo)                                15    BY: SHAUN P. McFALL, ESQ.
 16    Exhibit No. 3.......................77                   909 Poydras Street, 24th Floor
 17
       (articles in globo)                                16    New Orleans, Louisiana 70112
                                                                504.589.9764
       Exhibit No. 4.......................94             17    Smcfall@barrassousdin.com
 18    (statements/invoices)                              18
 19                                                       19 ALSO PRESENT:
 20                                                       20    MELISSA BARDWELL, VIDEOGRAPHER
 21                                                       21
 22                                                       22
 23                                                       23
 24                                                       24
 25                                                       25

                                                 Page 3                                                       Page 5
  1          APPEARANCES                                   1             STIPULATION
  2 REPRESENTING PLAINTIFFS:
  3    LEVIN, PAPANTONIO, THOMAS,                          2   It is stipulated by and among Counsel that
       MITCHELL, RAFFERTY, PROCTOR, P.A.                   3 the videotaped deposition of SAMMY KHATIB, M.D.,
  4    BY: NEIL E. McWILLIAMS, JR., ESQ.
       316 South Baylen Street                             4 is being taken under the Federal Rules of Civil
  5    Pensacola, Florida 32502                            5 Procedure for all purposes permitted under the
       850.435.7000
  6    Nmcwilliams@levinlaw.com                            6 law.
  7    THE LAMBERT FIRM, A.P.L.C.                          7   The formalities of reading and signing are
       BY: EMILY C. JEFFCOTT, ESQ.
  8    701 Magazine Street                                 8 not waived.
       New Orleans, Louisiana 70130                        9    The formalities of sealing, certification
  9    504.581.1750
       Ejeffcott@thelambertfirm.com                       10 and filing are not hereby waived. The party
 10                                                       11 responsible for services of the discovery material
       GOZA & HONNOLD, L.L.C.
 11    BY: BRADLEY D. HONNOLD, ESQ.                       12 shall retain the original.
       11181 Overbrook Road, Suite 200                    13   All objections, except those as to the
 12    Leawood, Kansas 66211-2241
       913.451.3433                                       14 form of the questions and/or the responsiveness of
 13    Bhonnold@gohonlaw.com                              15 the answers, are reserved until the time of the
 14
 15                                                       16 trial of this cause.
    REPRESENTING BAYER HEALTHCARE PHARMACEUTICALS,
 16 INC., and BAYER PHARMA AG:
                                                          17               * * * * *
 17    NELSON, MULLINS, RILEY &                           18         Aurora M. Perrien, Certified Court
       SCARBOROUGH, L.L.P.                                19 Reporter, Registered Professional Reporter, in and
 18    BY: ERIC A. PAINE, ESQ.
       1320 Main Street, 17th Floor                       20 for the State of Louisiana, officiated in
 19    Columbia, South Carolina 29201
                                                          21 administering the oath to the witness.
       803.255.5518
 20    Eric.paine@nelsonmullins.com                       22
 21                                                       23
 22
 23                                                       24
 24
                                                          25
 25

 Golkow Technologies, Inc.                                                                Page 2 (2 - 5)
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  1           PROCEEDINGS                             related to a case -- Mrs. Orr's case; right?
                                                       1
  2      THE VIDEOGRAPHER:                          2    A. Yes, sir.
  3         We are now on the record. My name is 3 Q. And we've spent the morning or much of the
  4      Melissa Bardwell, videographer here for    4 morning taking your deposition in that case;
  5      Golkow Technologies. The date today is     5 correct?
  6      January 21st, 2017. The time now is        6    A. Yes, sir.
  7      approximately 12:20 p.m. The videotaped    7    Q. And in addition to that work, you've also
  8      deposition is being held in New Orleans,   8 prepared a report in a case related to
  9      Louisiana, taken in reference to the       9 Joseph Boudreaux; is that right?
 10      Xarelto (rivaroxaban) Products Liability  10    A. Yes, sir.
 11      Litigation. The deponent today is         11    Q. So is it fair to say that that work -- the
 12      Sammy Khatib, MD.                         12 work that you did on your general or generic
 13         Would counsel present please introduce 13 report, the work that you did on Mrs. Orr's
 14      themselves and state their affiliations   14 report, and the work that you did on
 15      for the record.                           15 Mr. Boudreaux's report, would that -- would that
 16      MR. HONNOLD:                              16 encompass all of the work that you've done on the
 17         Brad Honnold for Mr. Boudreaux.        17 Xarelto litigation?
 18      MR. McWILLIAMS:                           18    A. No. I was involved in science day.
 19         Ned McWilliams for the plaintiffs.     19    Q. Okay. So beyond those three cases,
 20      MS. JEFFCOTT:                             20 there's more work that you've done for Janssen --
 21         Emily Jeffcott for the plaintiffs.     21    A. Yes, sir.
 22      MR. SARVER:                               22    Q. -- related to Xarelto; is that right?
 23         Rick Sarver for Janssen.               23    A. Yes, sir.
 24      MR. McFALL:                               24    Q. Okay. And you said something about
 25         Shaun McFall for Janssen.              25 science day; is that right?
                                              Page 7                                                Page 9
  1       MR. IRWIN:                                   1    A. Yes, sir.
  2          Jim Irwin for Janssen.                    2    Q. And -- and what -- what kind of work did
  3       MR. SOSSAMON:                                3 you  do for that?
  4          Meera Sossamon for Janssen.               4    A. That was presenting to Judge Fallon
  5       MR. PAINE:                                   5 regarding the science of atrial fibrillation and
  6          Eric Paine for Bayer.                     6 Xarelto.
  7       THE VIDEOGRAPHER:                            7    Q. And so that -- that work then would take
  8          The court reporter is Aurora Perrien,     8 you -- would date back to the early parts of 2015;
  9       and she will now swear in the witness.       9 is that right?
 10       (The court reporter swore in the witness.)  10    A. Yes, sir.
 11            EXAMINATION                            11    Q. So you've been retained and working for
 12 BY MR. HONNOLD:                                   12 Janssen in -- in some regard going back to the
 13     Q. You're still Dr. Khatib?                   13 early parts of 2015 up until today, the early part
 14     A. I think so.                                14 of 2017. Is that true?
 15     Q. Yeah. Okay.                                15    A. Yes, sir.
 16       So that's the third time you've taken an    16    Q. In terms of the entirety of work that
 17 oath in a -- in a case related to Xarelto in some 17 you've ever done for Janssen, would that cover
 18 way; right?                                       18 everything, or is there other types of work
 19     A. Yes, sir.                                  19 that -- or consultation work that you've done for
 20     Q. Okay. So in -- related to the Xarelto      20 Janssen over the years?
 21 litigation, you prepared a general or a generic   21    A. That is everything.
 22 report related to general issues on the Xarelto   22    Q. Okay. Have you ever -- have you or
 23 litigation; is that right?                        23 Ochsner ever received work that you were involved
 24     A. Yes, sir.                                  24 -- received monies where you were involved in
 25     Q. Then you prepared an individual report 25 doing some work or presentation work for Janssen
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  1 in any way?                                        correct?
                                                            1
  2       MR. SARVER:                                2     A. Yes, sir.
  3          Object to the form.                     3     Q. Okay. I'm going to hand to you what's
  4       THE WITNESS:                               4 been marked as Deposition Exhibit No. 1.
  5          No, sir. I'm sorry. Can you repeat      5        (Exhibit No. 1 was marked for
  6       that?                                      6        identification and attached hereto.)
  7       MR. HONNOLD:                               7        MR. SARVER:
  8          Sure.                                   8          Thank you.
  9       THE WITNESS:                               9 BY MR. HONNOLD:
 10          I want to make sure I'm answering      10     Q. And can you tell us what -- what Exhibit 1
 11       right.                                    11 is?
 12 BY MR. HONNOLD:                                 12     A. This appears to be my expert report in --
 13    Q. Did -- to your knowledge --               13 regarding Mr. Boudreaux.
 14    A. Before this?                              14     Q. And we never met before today; correct?
 15    Q. Yes. Before this.                         15     A. No, sir.
 16    A. No, sir.                                  16     Q. You did know, though, today well in
 17    Q. Okay. So you've -- other than the work    17 advance that you were going to be called upon to
 18 related to Xarelto, you've never received any   18 give a deposition in the Boudreaux case; right?
 19 monies from Janssen?                            19     A. Yes, sir.
 20    A. Not to my knowledge.                      20     Q. And this report related to the Boudreaux
 21    Q. Okay. And were you involved in doing any 21 case, you signed it on November 15th, 2016; is
 22 presentations or symposiums or seminars where   22 that right?
 23 Janssen had made payments to you or Ochsner for 23     A. I don't recollect the date. Yep. There
 24 that work?                                      24 it is.
 25    A. Oh. To Ochsner, yes. Yes, sir.            25     Q. And that --
                                                 Page 11                                                    Page 13
  1    Q. All right. Tell me about that.                    1    A. Yes, sir.
  2    A. That was a -- no. Not -- not Janssen.             2    Q. That's shown on Page 18 of the report;
  3 I'm sorry. That was Bristol-Myers Squibb for            3 correct?
  4 Eliquis.                                                4    A. Yes, sir.
  5    Q. Okay. All right. So you've worked for             5    Q. Since November 15th of 2016, have you come
  6 another maker of one of the drugs in the NOAC           6 upon any reason that would cause you to think
  7 class besides Janssen; is that right?                   7 there was a need to modify, change, or update your
  8    A. No, sir. I was -- I was employed by               8 report in any way?
  9 Ochsner, paid by Ochsner --                             9    A. No, sir.
 10    Q. Okay.                                            10    Q. Okay. So as of today, the things that are
 11    A. -- to do this. This was something that           11 set forth in Exhibit 1 are essentially your
 12 Ochsner sponsored and they asked me to get             12 opinions as it relates to the Boudreaux case?
 13 involved. So I would say I was working for             13    A. I'm comfortable with the -- the report.
 14 Ochsner.                                               14 Yes.
 15    Q. Okay. So the work that you did that was          15    Q. Who was it that -- that engaged you or
 16 in some way related to Eliquis, your view is that      16 retained you in terms of preparing an individual
 17 was in kind of the course and scope of your            17 report on Mr. Boudreaux's case?
 18 employment with Ochsner?                               18    A. I -- I know who it was that initially
 19    A. Yes, sir.                                        19 engaged me regarding the whole project. That was
 20    Q. Okay. To your knowledge, was Ochsner in          20 Kim Moore. As to who brought up this specific
 21 some way compensated by the makers of Eliquis for      21 one, I -- I think it was Kim Moore, but I can't
 22 that work?                                             22 promise that.
 23    A. Yes, sir.                                        23    Q. Do you recall when you first received
 24    Q. Okay. We talked about the fact that you          24 Mr. Boudreaux's medical records?
 25 prepared a report in Mr. Boudreaux's case;             25    A. Not off the top of my head. Not off the

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  1 top of my head.                                     1 provide some explanatory information that is --
  2    Q. Okay. And do you recall how much time you 2 that you provided to perhaps present the factual
  3 spent in terms of the number of hours preparing     3 information in a -- in a clearer light or to
  4 Exhibit 1?                                          4 provide some background explanation for it?
  5    A. So how much time I spent specific to          5    A. To give background. The -- the goal is to
  6 Mr. Boudreaux?                                      6 give background and context.
  7    Q. Yes.                                          7    Q. Okay. And so if you look at Pages 2
  8    A. I have a ballpark, not a absolute number.     8 through the top of Page 12, it -- what -- what
  9 I would put it around 10 to -- 10 hours, 10, 12 --  9 statements in that page ranges if any do you view
 10    Q. And in --                                    10 as being opinion sourced to you or your -- your
 11    A. -- somewhere north of 10.                    11 opinions about Mr. Boudreaux?
 12    Q. In terms of Exhibit 1 related to             12      MR. SARVER:
 13 Mr. Boudreaux, the report specifically for         13          Object to form.
 14 Mr. Boudreaux's case, what was your assignment?    14      THE WITNESS:
 15 What -- what --                                    15          Okay. I can try and go through this,
 16    A. What was --                                  16      if that's what you're asking. So the
 17    Q. What question were you presented with to     17      beginning to Page 4, definitely summation
 18 take on or address in your report?                 18      of the facts, development of a-fib and
 19    A. I was asked to comment on the utilization    19      CHF, begins with summation of facts.
 20 of Xarelto in the case of Mr. Boudreaux and review 20      Summation of facts on Page 5. Summation
 21 his clinical course.                               21      of facts, Page 6. So opinion has -- after
 22    Q. And so when you say "review his clinical     22      the PT, "this information is not
 23 course," does that mean kind of look over the      23      clinically useful," that's my
 24 medical facts and details of his -- of his case -- 24      interpretation of the data. That's not a
 25    A. Yes, sir.                                    25      simple fact. So that part is my
                                             Page 15                                               Page 17
  1    Q. -- and his care?                             1        interpretation of the science. After
  2    A. Yes, sir.                                     2       that --
  3    Q. Okay. And in fact, if you look at             3 BY MR. HONNOLD:
  4 Exhibit 1, you spend much of the report             4    Q. And let -- let me -- as we go on here and
  5 essentially providing a narrative in terms of the   5 as you identify things that might be opinion --
  6 details of his medical course; is that right?       6    A. Sure.
  7    A. I tried to to the best of my abilities.       7    Q. -- I might have some questions for you.
  8 Yes.                                                8       So as it relates to those four lines
  9    Q. Okay. Now, if -- if you look at your          9 related to PT on Page 6, you said that that --
 10 report and focus on I guess from Pages 2 through   10 that is information about the PT that is -- would
 11 the top of Page 12, would it -- would it be fair   11 it be fair to say is interpretation of -- of the
 12 to say other than the -- other than the statements 12 data or some data as you read it?
 13 relating to your background and -- and your        13    A. I'm sorry.
 14 current practice, things of that nature, it --     14    Q. Is it --
 15 would it be fair to say that Pages 2 through 12    15    A. The interpretation of the data --
 16 essentially focus on the medical facts and details 16    Q. Yes.
 17 related to Mr. Boudreaux's case?                   17    A. -- of the PT?
 18    A. I think the overall -- the structure and     18    Q. Related to PT that's in the medical
 19 the sequence was dictated by the clinical care --  19 literature.
 20 the clinical situation. I -- I -- and I think --   20    A. Is this my base -- my understanding -- my
 21 if I'm not mistaken, I had commentary clinically   21 interpretation of the literature and the science
 22 that wasn't specific to his records interspersed   22 regarding PT? Is that --
 23 throughout, trying to do it in a sequence that was 23    Q. Okay.
 24 related to his clinical course.                    24    A. -- what you're . . . Yes.
 25    Q. Okay. There are occasions where you might    25    Q. Is that what that is?

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  1    A. Yes, sir.                                       here.
                                                          1
  2    Q. Okay. Now, let me ask you this --             2    Q. Let's just hold that then as an open
  3    A. Sure.                                         3 question as we go through, and let's --
  4    Q. -- is -- is that information as it's          4    A. Okay.
  5 stated there unique to the Boudreaux case in any    5    Q. -- move back to -- to -- to close that
  6 way, or is that subject matter that had been        6 loop as to whether you raise anything else about
  7 talked about at great length in your -- in your     7 the PT. Will you -- will you keep that open?
  8 general or generic deposition that was taken a      8    A. Yes, sir.
  9 while back?                                         9    Q. Okay. All right. Then why don't we move
 10    A. This is not unique to the Boudreaux case.    10 on then to at the very bottom of Page 6 and moving
 11 This is my thoughts on PT utilization in general   11 forward.
 12 with rivaroxaban. The -- the time that I made      12    A. Back to what is fact and what is
 13 this paper was before the deposition. So it had    13 interpretation?
 14 nothing to do with the discussion from the         14    Q. Yes. Thank you.
 15 deposition on the general report.                  15    A. Okay. "Decision was made to transfer,"
 16    Q. Okay. Now, let me ask you a couple more 16 fact. So the rest of that section, I would say
 17 questions about this then, and I'm going to try to 17 fact.
 18 make my questions as specific as I can. Okay.      18       Subsequent manage of a-fib . . . So
 19       So anywhere on your report on Page 6 do      19 initially the first four -- first one, two, three,
 20 you provide any statement or view as to what you 20 four sentences were fact. I then tried to put
 21 believe was the cause of that elevated PT that you 21 this into context. So this is my interpretation
 22 reference on Page 6? And my question for you is: 22 of the science and how it applies in this specific
 23 In your report, do you make any --                 23 case.
 24    A. Got it.                                      24    Q. And let's stop right there.
 25    Q. -- such statement about it?                  25       So as I interpret that, your -- your basic
                                              Page 19                                                Page 21
  1    A. No, sir.                                        1 statement there is that -- at that point in the
  2    Q. In the report, do you make any statement        2 factual narrative, you are stating that given
  3 or reference to what reagent was used to generate     3 Mr. Boudreaux's clinical situation, it was
  4 that PT result?                                       4 indicated and appropriate to place him on some
  5    A. No, sir.                                        5 type of anticoagulation; is that right?
  6    Q. Would it be fair to say that your -- your       6    A. I'm sorry. So at the time, after his GI
  7 view about the -- your only view about the PT of      7 bleed, was it appropriate that -- so this was --
  8 13.5 is what you state there on Page 6, the -- the    8 this was my comments -- this was after the GI
  9 four lines that you say is your view of the           9 bleed. And this was discontinuation and pursuing
 10 science and literature related to PT?                10 a rate control strategy. So that was what -- the
 11      MR. SARVER:                                     11 context of what I was writing here.
 12         Object to form.                              12    Q. Okay. And --
 13      THE WITNESS:                                    13    A. This was not about the -- I'm sorry to --
 14         I'm reluctant to take a narrow view on       14    Q. Okay. No.
 15      this and restrict it to what my statements      15    A. This was not the -- regarding the initial
 16      are here. They're more nuanced than a           16 decision to anticoagulate.
 17      four-sentence statement.                        17    Q. All right. And I -- and I lost track of
 18 BY MR. HONNOLD:                                      18 where we were, in -- in what time.
 19    Q. Okay. But you don't state anything in          19    A. Okay.
 20 your report other than those four lines; right?      20    Q. But your reference there, the citation to
 21    A. I don't remember -- and we can go through      21 the American College of Cardiology statement or
 22 the rest of the report. I don't have anything        22 guidance, that relates to the recommendations for
 23 here. After this, we go back to the facts.           23 using anticoagulation after the patient has
 24    Q. Okay.                                          24 returned to normal sinus rhythm; correct?
 25    A. So I don't know that I have other than         25    A. Yes, sir. Okay.

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  1      Continuing?                                     science
                                                           1       and medicine behind  the -- the reasons for
  2    Q. And why don't you go ahead and continue      2 putting patients with nonvalvular atrial
  3 there going forward from Page 8.                   3 fibrillation on some type of anticoagulation?
  4    A. Okay. So again, the rest of that part        4    A. This is my attempt to put this in clinical
  5 before LARIAT Procedure, this is providing         5 context. And -- yes, so whether or not the
  6 clinical context for the rationale for not         6 patient should be on anticoagulation. The --
  7 pursuing a rate control strategy -- or not         7    Q. And -- and you kind of put a point on that
  8 pursuing a rhythm control strategy at that time.   8 at the bottom of Page 13, going to the top of
  9 That's my interpretation of the science.           9 Page 14, by putting a sentence both in bold and
 10      The LARIAT Procedure . . . So he was         10 underlining it, where you basically state that it
 11 referred to Dr. LARIAT -- Dr. Fail -- by          11 was consistent with the standard of care and in
 12 Dr. Timothy for the LARIAT. That is true. So      12 fact required by the standard of care under these
 13 this was not opinion or interpretation. I'm --    13 circumstances to put Mr. Boudreaux on some sort of
 14 I'm giving thoughts as to the rationale of why he 14 anticoagulation; correct?
 15 was referred. I don't know if you'd put that      15    A. I'm not going to use the word "required."
 16 under purview of fact, medical fact, or           16 I would say "consistent."
 17 interpretation. That's --                         17    Q. So the standard -- so it was consistent
 18    Q. Would it be fair to say there on -- on the  18 with the standard of care then for Dr. Wong to
 19 bottom of Page 8 and throughout Page 9 what you 19 place Mr. Boudreaux on some sort of
 20 are doing is reporting both fact but then         20 anticoagulation given his clinical circumstance;
 21 providing some fairly detailed explanation of     21 correct?
 22 background, providing some justification or       22    A. Yes, sir.
 23 rationale for the treatment decisions that were   23    Q. And then that last paragraph --
 24 made?                                             24    A. Where are you?
 25    A. Yes, sir.                                   25    Q. The paragraph at the top --
                                                Page 23                                                   Page 25
  1    Q. All right. Why don't we go ahead and go          1A.   I'm sorry.
  2 forward then if you've gotten to Page 10.          2    Q. -- of Page 14 --
  3    A. Go to 10. Okay. So starting with             3    A. Okay.
  4 "Initial evaluation," fact. Outpatient -- so I     4    Q. -- where you attribute some degree of --
  5 would say the rest of this was fact.               5 of state of mind or awareness to Dr. Wong, what's
  6       Eleven -- Page 11 now?                       6 your view of where that comes from --
  7    Q. Yes, sir.                                    7    A. That comes --
  8    A. Fact through 11.                             8    Q. -- or what is your source for that?
  9       And then subsequent management of a-fib      9    A. The medical records and his deposition.
 10 after LARIAT, continuing?                         10    Q. And so in terms of the point in
 11    Q. I'm with you.                               11 Mr. Boudreaux's chronology, where we are at that
 12    A. Okay. All right. So it starts with fact,    12 point is essentially where he starts taking
 13 then applying clinical context again for the      13 Xarelto based upon the recommendation of Dr. Wong;
 14 rationale, similar to what we just discussed.     14 correct?
 15 Then going back to fact. Then description of a    15    A. Yes, sir.
 16 cardioversion, that's clinical context. And then  16    Q. Okay. Now, in terms of the specific
 17 the -- "At follow-up," this was fact.             17 details then of what -- of what happened to
 18    Q. Okay. And then that gets us to the          18 Mr. Boudreaux once he started taking Xarelto,
 19 heading that's -- the heading on Page 12,         19 experiences the bleed, has a resuscitative care
 20 "Comments on the Utilization of Xarelto"; is that 20 for that, and how that continues over time, you
 21 right?                                            21 don't really go through any narrative relating to
 22    A. Yes, sir.                                   22 those details, do you?
 23    Q. And would it be fair to say then in that    23    A. We'll see when we review.
 24 section on Page 12 and Page 13, that you provide 24        I did have the -- the subsequent care with
 25 the general backdrop and explanation of the       25 the LARIAT and the decision to pursue normal sinus


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  1 rhythm. I tried to focus on his cardiovascular        1   So again, I -- I thought that this
  2 management. So I tried to represent his clinical 2 represented his acute event and -- and what I deem
  3 course subsequent to the bleed to the best of my  3 to be the relevant parts, how much transfusions he
  4 abilities. I think we have it here.               4 underwent, when he underwent his EGD, when he
  5    Q. Okay. And I guess to be fair, you didn't    5 underwent his colonoscopy, the findings, and the
  6 go through a detailed recitation of -- for        6 outpatient follow-up. So I -- I tried to be
  7 example, when he came to the hospital, was        7 thorough and I -- my representation here
  8 diagnosed as having a bleed, all of the -- the    8 represents that.
  9 care and treatment that he underwent during that 9     Q. Okay. Do -- do you routinely get called
 10 time?                                            10 to the emergency room if you have patients that
 11       MR. SARVER:                                11 are -- I guess patients of yours for the care and
 12          Object to form.                         12 treatment of atrial fibrillation that you might be
 13       THE WITNESS:                               13 managing them on some sort of anticoagulate, did
 14          I tried to give a summary that was      14 you -- do you ever get called to the emergency
 15       representative and not too wordy. We can 15 room if they present with a GI bleed?
 16       go back to that. I believe that was on     16    A. Usually -- so our fellow will go down and
 17       Page 6 to 7 --                             17 evaluate. They'll call the fellow, and then it's
 18       MR. HONNOLD:                               18 not uncommon for the fellow to contact me. It
 19          Okay.                                   19 depends on who's on service. So if not -- if I'm
 20       THE WITNESS:                               20 not on service, it's one of my patients, the first
 21          -- development and the management of 21 thing they'll do is they'll try and find me. If
 22       the GI bleed.                              22 I'm around and available, they'll come speak to
 23 BY MR. HONNOLD:                                  23 me. If not, they'll talk to one of my partners,
 24    Q. Okay. So in terms of -- of his clinical    24 in which -- in -- in that scenario, my partner
 25 course related to the bleed, that's set forth on 25 will let me know or I'll follow up with the -- the

                                              Page 27                                                 Page 29
  1 Page 6 and Page 7; is that right?                     1 patient after that.
  2    A. This is in terms of the acute event of the      2     Q. Do you find yourself, though, on -- on
  3 bleed --                                              3 occasion ever going to an emergency room and
  4    Q. Okay.                                           4 actually writing orders for -- for patients who
  5    A. -- and then the subsequent decisions that       5 present with a GI bleed?
  6 were taken after that.                                6     A. Fellows write the orders. We'll discuss
  7    Q. And what you write in Page 6 and 7, the         7 the plan, and -- and they will -- and generally
  8 source documents for that are many, many pages        8 for a GI bleed -- so -- the EP, the
  9 from the medical records from his hospitalization;    9 electrophysiology service doesn't have a hospital
 10 correct?                                             10 service. So we're consultants. So we'll make
 11    A. Yes, sir.                                      11 recommendations as to orders to the primary team,
 12    Q. And I take it you just used your -- your       12 and generally those are carried out by the
 13 own judgment in terms of choosing what -- what to    13 admitting team.
 14 comment on --                                        14     Q. Okay. So as an electrophysiologist, do --
 15    A. What to focus on?                              15 you say that you don't have a hospital service.
 16    Q. -- or what not -- what not to focus on         16 What do you mean by that?
 17 based upon its significance, in your view?           17     A. All patients with cardiovascular issues,
 18    A. No. I -- I think that the GI bleed was a       18 be it arrhythmia issues or heart failure issues or
 19 significant event in the course of his care. As a    19 related to ischemia, are -- have historically been
 20 cardiologist and, again, in terms of management of   20 admitted to the general cardiology service. We
 21 a-fib, I felt much -- I -- that's what my area of    21 have more recently now flipped to those patients
 22 expertise is and where I'm trying to spend a         22 now going to a hospital medicine service. So
 23 significant amount of time. I wanted to be           23 historically, the EP service we serve as
 24 thorough and -- and discuss -- and I think it is     24 consultants. Sometimes we're driving care. So if
 25 germane to the discussion.                           25 it's my patient and it's a primary arrythmia


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   1 issue, for the most part the general cardiologists  1 the discussion at hand.
   2 simply defer to us. We'll tell them, These are --   2    Q. Okay.
   3 this is what we recommend and they'll implement. 3       A. That's why we're having this . . .
   4 And sometimes it's truly as a -- in the spirit of   4    Q. Okay. And when that question was posed to
   5 consultation.                                       5 you and when you prepared your report, Exhibit 1,
   6    Q. Okay. So in situations where patients are     6 I take it you were mindful of the statements that
   7 on anticoagulants experience gastrointestinal       7 you had made in your general report; is that
   8 bleed, you yourself personally aren't the           8 right?
   9 physician that comes to the emergency room and      9    A. I don't know what you mean by "mindful."
  10 writes the initial orders regarding fluid          10      I wasn't -- so I -- I did the general
  11 resuscitation, whether or not to give blood and if 11 report, and I moved on. I did the Orr statement.
  12 so how much, whether or not to admit the patient, 12 I moved on. And I did the Boudreaux statement.
  13 things of that nature?                             13 My writing of the general report facilitated this.
  14    A. It's been a long time.                       14 But I -- I don't know that I was going back to my
  15    Q. Okay. So at your --                          15 general report when I was writing this. This was
  16    A. Yes, sir.                                    16 done as an individual documented entity. I wasn't
  17    Q. Okay. So at your hospital, that's either     17 writing this in relation to the general report.
  18 done -- that admission and management is either    18    Q. Okay. I want to hand -- back to your
  19 done through general cardiology or through         19 general report. And I forget how it was marked in
  20 hospital medicine; right?                          20 prior depositions. But it's on Page 19. There's
  21    A. Yes, sir.                                    21 a version there before you that has some
  22    Q. Okay. And hospital medicine, also called 22 underlying and highlighting.
  23 hospitalists?                                      23      MR. SARVER:
  24    A. Yes.                                         24          Do you want to mark this separately?
  25       And also we have rounded -- so we round on   25      I don't care.
                                               Page 31                                               Page 33
   1 cardiology. Ninety-five percent of my practice is   1        MR. HONNOLD:
   2 EP. I live and breath electrophysiology. But we     2           No. I don't necessarily want to mark
   3 spend some time on the cardiology service. So       3        it separately in this deposition. All we
   4 when those patients get admitted to the             4        can say is that I think everybody by this
   5 cardiovascular service -- have, not going forward   5        stage knows what -- what -- what we're
   6 because we don't have service, but have, then it's  6        talking about, which is --
   7 my team writing the orders. Again, it's still       7        MR. SARVER:
   8 fellows or residents or mid-level providers         8           Yeah. I -- I don't object to that.
   9 writing the specific orders. But it's our plan,     9        MR. HONNOLD:
  10 my plan.                                           10           -- the generic report.
  11     Q. Okay. If we go back to Exhibit 1, your      11        MR. SARVER:
  12 report, Page 14, do you see the heading there in   12           That's fine.
  13 the middle of Page 14?                             13        MR. HONNOLD:
  14     A. "Would the Clinical Outcome Have Been       14           Okay. All right.
  15 Different if a Different Anticoagulant was         15        THE WITNESS:
  16 Utilized?" Yes.                                    16           Okay.
  17     Q. Okay. So were you called upon or asked to   17 BY MR. HONNOLD:
  18 render an opinion on that issue in Mr. Boudreaux's 18     Q. And what -- what statement did you make
  19 case?                                              19 there that's highlighted in the general report?
  20     A. That question was posed. Yes.               20     A. ". . . in an individual patient scenario
  21     Q. Okay. And who posed that question?          21 it is not possible to determine if outcomes would
  22     A. I don't remember specifically. To me,       22 be different if a different anticoagulant was used
  23 it's a natural question to ask in this -- in -- in 23 unless this is specifically addressed in" a -- "in
  24 this case. So I don't remember the context of who 24 scientific research. To do so would be to base
  25 and what was proposed. This is I think germane to 25 any conclusions on speculation, and not scientific


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   1 evidence."                                             Q. But in that scenario specifically, moving
                                                                1
   2    Q. Okay. And you read that correctly; right? 2 forward with treatment where the benefit of the
   3    A. Yes, sir.                                   3 treatment did not outweigh the risk, that would
   4    Q. And when you put that in your general       4 suggest that the patient was being subjected to
   5 report, you put it there for a reason; correct?   5 the risk without appropriate basis in terms of
   6    A. Yes, sir.                                   6 medical evidence?
   7    Q. And what was the reason that you put it in 7        MR. SARVER:
   8 your general report?                              8         Object to form.
   9    A. To give context on the utilization of --    9       THE WITNESS:
  10 of how to apply evidence-based medicine in       10         I'm losing you.
  11 clinical scenarios.                              11 BY MR. HONNOLD:
  12    Q. Okay. And do you still stand by that       12    Q. Okay. Well, tell me what you're --
  13 statement today?                                 13    A. I'm not sure --
  14    A. I do.                                      14    Q. Specifically, when you say that's how you
  15    Q. Okay.                                      15 can get into trouble, I -- I just -- "trouble"
  16    A. Oh. Sorry.                                 16 means a lot of things. I mean, "trouble" means
  17      MR. SARVER:                                 17 you can --
  18         He wants it back.                        18    A. Okay.
  19 BY MR. HONNOLD:                                  19    Q. -- get prosecuted and go to jail. You can
  20    Q. And tell me generally when you use the     20 get kicked off the medical staff or something bad
  21 term "evidence-based medicine" what              21 could happen to the patient. Which -- which is
  22 "evidence-based medicine" is.                    22 it?
  23    A. It's the application of clinical -- the    23    A. The last.
  24 clinical context.                                24    Q. Okay.
  25      So when you apply clinical medicine --      25    A. So "trouble" in my -- it's all about the
                                                     Page 35                                               Page 37
   1 when you're practicing clinical medicine,                  1 patient.
   2 utilizing -- taking your approach based on                 2    Q. Okay.
   3 evidence and not anecdotes or eminence. Sometimes          3    A. And we don't worry about -- we -- our
   4 in cardiology we'll -- we'll refer to some                 4 focus is always on the patient, not on legal or
   5 physicians using eminence-based medicine, not              5 medical staff.
   6 evidence-based medicine, so in other words, this           6    Q. Okay. So when you're talking about
   7 is my personal experience and this is what is              7 departing from evidence-based medicine, that may
   8 real. Evidence-based medicine is focusing on the           8 get you into an area where there -- there -- the
   9 data that is present and applying the data to your         9 trouble you're talking about is potential harm to
  10 practice of your patients. So I -- we always              10 the patient?
  11 emphasize to our fellows and residents that the           11    A. I think you have to be careful that we --
  12 practice of evidence-maced [sic] medicine is              12 there are times where you -- so not every person
  13 critical and that when you veer from that you can         13 or every patient in every clinical scenario fits
  14 get into trouble.                                         14 into a nice tidy box in terms of studies and
  15    Q. Like what kind of trouble?                          15 evidence. And I think you have to do your best to
  16    A. You could have -- you may make practical            16 apply your interpretation of the evidence to a
  17 decisions in regard to patients that the benefits         17 specific individual. So it's -- data and science
  18 don't outweigh the risks.                                 18 is to be applied into a particular patient. They
  19    Q. And in terms of practicing medicine and             19 are by no means law, and that that's the art, you
  20 making decisions going forward where the benefit          20 know, when you talk about the art of medicine. So
  21 might not outweigh the risk, I mean, that could --        21 it has to be in the clinical context.
  22 something that can ultimately or potentially              22       The point I'm trying to make here is that
  23 result in patient harm; correct?                          23 you do have to base your -- your decision-making
  24    A. Anything we do could result -- potentially          24 process in this on sound science and data and not
  25 result in patient harm.                                   25 your -- what happened to your last patient.


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   1    Q. Okay. So at Page 19 -- and I apologize.             1 have been different on different therapy?
   2 I -- I -- I -- you don't have this before you             2     A. I'm lost now. I'm --
   3 right now. But --                                         3     Q. Okay.
   4    A. Oh. This is the general report?                     4     A. -- sorry.
   5    Q. You say --                                          5     Q. All right. I think you've answered the
   6    A. Yes.                                                6 question.
   7    Q. -- in -- "in an individual patient                  7        When you use the phrase "it is not
   8 scenario it is not possible to determine if               8 possible to determine," is that the same as saying
   9 outcomes would be different if a different                9 it is impossible to determine?
  10 anticoagulant was used unless this is specifically       10     A. No. Well, can I see the --
  11 addressed in scientific research."                       11     Q. Sure.
  12        So when you -- so in that context, are you        12     A. May I have this?
  13 talking about looking at an event that's already         13     Q. Yeah.
  14 occurred and trying to figure out whether the path       14     A. Okay. So we're still on "it is not
  15 could have been different?                               15 possible." "It is not possible" -- it is
  16    A. I think it's -- I think you can look at            16 impossible to determine, not possible. That's a
  17 trends.                                                  17 stronger word. I'm trying to couch this. You
  18        I don't think it's in one individual              18 know, again, there's -- there's very little in --
  19 patient you can make a specific decision -- or           19 in this that I would characterize as absolutes in
  20 commentary: This would -- X would definitely have        20 terms of the practice of medicine. That's why I
  21 happened if we had done this differently. There's        21 would be reluctant -- my initial response to that
  22 -- you know, you can't practice that way. There's        22 is not to say "impossible."
  23 no way to know. So if I have a patient who has an        23     Q. Okay.
  24 outcome on -- has a bad outcome from this and I do       24     A. I just -- I don't dwelve [sic] in --
  25 the same procedure on the patient the next week, I       25     Q. Okay.
                                                  Page 39                                                  Page 41
   1 can't predict that the same outcome is going to           1    A. -- absolutes.
   2 occur.                                                    2    Q. Okay. You -- you chose the words that you
   3        So I wouldn't -- I -- I -- you can't --            3 chose, though, at the time that you chose them for
   4 that's what I mean by you can't -- then you're            4 a reason; correct?
   5 getting more towards eminence-based than -- as            5    A. Yes, sir.
   6 opposed to evidence-based. You can't base your            6    Q. Okay. And so I take it you were attaching
   7 clinical decision-making on necessarily one               7 the normal meaning to those words when you said
   8 outcome or whatnot.                                       8 "it is not possible" --
   9    Q. Okay. And I appreciate that. I'm not --             9       MR. SARVER:
  10 I -- I probably didn't ask a very good question.         10          Object to form.
  11        But when you say "in an individual patient        11 BY MR. HONNOLD:
  12 scenario it is not possible to determine if              12    Q. -- right?
  13 outcomes would be different if a different               13       MR. SARVER:
  14 anticoagulant was used," in making that statement,       14          Object to form.
  15 are you talking about looking at a patient where         15       THE WITNESS:
  16 an outcome has happened, such as an -- such as a         16          We're -- we're delving into -- I'm not
  17 GI bleed, and then saying, It's impossible then to       17       sure I'm following. I'm --
  18 say one way or the other whether that would have         18       MR. HONNOLD:
  19 happened or not if they had been on a different          19          Okay.
  20 anticoagulant?                                           20       THE WITNESS:
  21    A. Yes.                                               21          -- losing you.
  22    Q. Okay. And so when -- so when you use the           22 BY MR. HONNOLD:
  23 term -- that phrase, you're talking about looking        23    Q. When you said "it is not possible," that's
  24 retrospectively at a situation and whether or not        24 what you meant to say when you --
  25 it can be said that could the -- would the outcome       25    A. Yes, sir.

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   1     Q. -- signed that report on that date;                 1    A. Are we back to the --
   2 correct?                                                   2    Q. Sure. We're going back to his --
   3     A. I'm sorry. Yes, sir.                                3    A. Okay.
   4     Q. Okay. And when you say unless a topic is            4    Q. -- report --
   5 specifically addressed in scientific research,             5    A. Yes, sir.
   6 what are you talking about there?                          6    Q. -- on Page 14.
   7     A. I -- I'm -- so I can give an example.               7    A. Okay.
   8     Q. Sure.                                               8    Q. I want to make sure that I understand all
   9     A. Is that -- so it's a colorant.                      9 the work that you've done on -- on that issue and
  10     Q. Sure.                                              10 everything that you're relying upon in that
  11     A. So, for instance, the comparison of                11 section. Okay?
  12 different novel oral agents, one being better than        12    A. For the Would the Clinical Outcome Have
  13 the other, I think you get into trouble without           13 Been Different?
  14 that specifically being addressed in a direct             14    Q. Yes. Yes.
  15 head-to-head comparison. That's what I'm trying           15    A. Okay.
  16 to -- that's a specific example. So sometimes             16    Q. So I want to make sure that we've
  17 when you base -- you -- you have to really think          17 identified everything. So in terms of what you --
  18 about what you're looking at.                             18 what you rely upon or cite on Page 14, is there
  19     Q. And -- so you're talking about in -- if            19 any specific study, clinical trial, or other
  20 it's been addressed in a head-to-head scenario,           20 literature that you refer to specifically on Page
  21 you're talking about a situation like ROCKET,             21 14?
  22 where warfarin and rivaroxaban were compared head         22    A. Where -- in -- I don't have any citations
  23 to head?                                                  23 here on Page 14.
  24     A. So I would feel comfortable with the               24    Q. Okay.
  25 head-to-head comparison done there. I'd feel,             25    A. Is that the . . .
                                                    Page 43                                                 Page 45
   1 again -- so that's a good example.                         1    Q. Yep. That's the question.
   2       I would not feel comfortable with the                2    A. Okay.
   3 direct comparisons of Xarelto to Pradaxa to                3    Q. On Page 15, is -- what is the source of
   4 Eliquis to Savaysa. But yeah. So with Eliquis              4 the medical literature, clinical trials, or other
   5 versus warfarin from ARISTOTLE, Savaysa versus             5 information that you rely upon for any of your
   6 warfarin from ENGAGE AF and Pradaxa versus                 6 opinions or conclusions on Page 15?
   7 warfarin, I think you have to stay in those lanes.         7    A. So there are citations here for the -- the
   8    Q. But that would be the limitation then?               8 GI one, the GI comments.
   9    A. Limitation of . . .                                  9    Q. Okay. So those citations, Footnotes 3 and
  10    Q. Meaning that would be the only statements           10 4, is -- is that the sum total of the information
  11 that you would be comfortable making.                     11 in terms of clinical trial or medical literature
  12    A. Those would be the statements -- I'm                12 that you're relying upon for your statements on
  13 trying to think about this. Yeah. So I would --           13 Page 15?
  14 the -- the data that's out there supports those           14    A. The -- these statements are also taking
  15 individual comparisons. There's no direct                 15 into -- taking into account my clinical experience
  16 comparisons between the two.                              16 and my understanding of -- of the literature
  17    Q. Okay. And in terms of data comparing                17 before my involvement in this case in that regard.
  18 outcomes in patients on rivaroxaban versus                18    Q. Okay. Now --
  19 warfarin, that's limited to ROCKET?                       19    A. So these are -- I'm sorry.
  20    A. I think there's also the real world, the            20    Q. Go ahead.
  21 registry data that has been shown, has been               21    A. These -- the comments about the endoscopy
  22 published. And there's multiple, not one                  22 is not revealing evidence of pathology, not
  23 specific.                                                 23 meaning that there's no underlying pathology. It
  24    Q. In -- when you go on to talk about the              24 is consistent with my clinical experience going
  25 situation with Mr. Boudreaux --                           25 back since internal -- since medical school.


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   1 These are particular studies that I referenced for    1    Q. Okay. You had the ability to take your
   2 that, my -- my -- to -- to give scientific data       2 time to look over the report in advance to
   3 background supporting those premises. But these       3 determine whether any modifications or changes
   4 are all -- are my clinical experience and my          4 needed to be made; correct?
   5 appreciation of this.                                 5    A. Yes, sir.
   6       So when someone comes in with a GI bleed,       6    Q. Okay. What was your understanding as to
   7 it's not uncommon for them to get an EGD and a        7 the importance of -- of this report, Exhibit 1 in
   8 colonoscopy and those studies don't show anything,    8 the Boudreaux case, why it was being done?
   9 and I don't operate under the assumption that that    9       MR. SARVER:
  10 means that there's nothing there.                    10         Object to form.
  11       So -- and -- I'm sorry.                        11       THE WITNESS:
  12     Q. And -- and so on Page 15, is there            12         Come again?
  13 anything whatsoever that speaks to differences in    13 BY MR. HONNOLD:
  14 occurrence rate or incident rates of                 14    Q. Yeah.
  15 gastrointestinal bleeding between warfarin and       15       What was your understanding as to why you
  16 rivaroxaban in any -- any way on Page 15?            16 were preparing the report?
  17     A. No, sir.                                      17    A. To provide clinical context on the
  18     Q. Okay. And to your knowledge, the              18 clinical course of Mr. Boudreaux and use my
  19 references and citations on Page 15, Footnotes 3     19 clinical experience and my expertise --
  20 and 4, those don't speak to any comparisons in       20    Q. Okay. And --
  21 terms of incidence or occurrence data of GI          21    A. -- to opine on it.
  22 bleeding between Xarelto and warfarin; correct?      22    Q. Okay. So you would -- we'd agree that you
  23     A. Correct.                                      23 -- you knew that in the report you were -- it was
  24     Q. And in fact, on Page 15, you make -- you      24 the goal of the report to clearly set forth your
  25 make no -- in -- in terms of the words that you've   25 opinions; correct?

                                               Page 47                                                 Page 49
   1 chosen, you make no specific reference to the         1    A. Yes, sir.
   2 ROCKET clinical trial; correct?                       2       MR. SARVER:
   3    A. Correct.                                        3          Object to form.
   4    Q. All right. Let's --                             4 BY MR. HONNOLD:
   5    A. I should have. That's a good point.             5    Q. Okay. And -- and the basis for them;
   6    Q. Excuse me?                                      6 right?
   7    A. I should have.                                  7    A. Yes, sir.
   8    Q. Okay. But you've not? You have --               8    Q. Now, on the top -- on the first -- on the
   9    A. I know. No. No. I'm agreeing with you.          9 first paragraph that starts on Page 16 that begins
  10    Q. Okay.                                          10 with the phrase "Would the patients," do you see
  11    A. Again, this is not --                          11 that, that paragraph that starts "Would the
  12    Q. Okay.                                          12 patients"?
  13    A. -- a perfect document. I'm just thinking       13    A. Yes, sir.
  14 in my head --                                        14    Q. Now, there you start taking on -- or you
  15    Q. Yeah.                                          15 raise the issue of would Mr. Boudreaux's bleeding
  16    A. -- how I would do this.                        16 episode have been less severe if he had been on
  17    Q. Well, you know I came here today to take       17 warfarin; right?
  18 your deposition? You -- you've known that for a      18    A. Yes, sir.
  19 long time, that I was going to be here; correct?     19    Q. Okay. So in that sentence, you are not
  20    A. I know that you were -- I know that I was      20 raising the issue as to whether it would have
  21 being deposed.                                       21 occurred or not occurred, but you are simply
  22    Q. Okay. And you knew that you were going to      22 raising the question would it have been less
  23 be asked questions about the report that you         23 severe on warfarin; correct?
  24 prepared for Joseph Boudreaux; right?                24    A. Yes, sir.
  25    A. Yes, sir.                                      25    Q. Okay. And that is then what you do for

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                                                    Page 50                                                Page 52
   1 the remainder of Page 16; correct?                        1 bleeds on warfarin versus rivaroxaban; correct?
   2    A. Comment on whether the severity would have          2    A. I think it's commenting on the clinical
   3 been less?                                                3 course --
   4    Q. Right.                                              4    Q. Okay.
   5    A. Let's see here. Yes, sir.                           5    A. -- of patients who have major bleeding.
   6    Q. And that general topic is something that            6    Q. But again --
   7 you continued to speak on over on to the top half         7    A. Not that I think it is.
   8 of Page 17; correct?                                      8    Q. Okay. But -- okay.
   9    A. Yes, sir.                                           9       So Piccini looks at comparatively the
  10    Q. Now, up to this point, which is the -- the         10 clinical course in patients who experience bleeds
  11 middle of Page 17, you have not addressed -- in --       11 between warfarin and rivaroxaban; correct?
  12 in -- in the words that you have chosen in terms         12    A. Yes, sir.
  13 of what you have written, you have not addressed         13    Q. Okay. Nowhere in the information that you
  14 the issue of incidence or occurrence of any types        14 were -- that you've chosen to describe Piccini, it
  15 of bleeding in rivaroxaban versus warfarin;              15 does not get in -- at least the words that you've
  16 correct?                                                 16 chosen does not get into this issue of comparative
  17       MR. SARVER:                                        17 incidence or occurrence rates of any type of
  18          Object to form.                                 18 bleeding between warfarin and rivaroxaban --
  19       THE WITNESS:                                       19 correct -- in terms of the words you've chosen?
  20          I think what I'm trying to do here is           20    A. The comparative incidence, yes, sir.
  21       discuss the thoughts on the severity of            21 You're correct.
  22       the bleed.                                         22    Q. In the bottom of Page 17 you take on or
  23       MR. HONNOLD:                                       23 start discussion of the Dresden registry study; is
  24          Okay.                                           24 that right?
  25       THE WITNESS:                                       25    A. Yes, sir.
                                                   Page 51                                                 Page 53
   1          That's what I'm putting here.                 Q. And -- and can you just by way of brief
                                                               1
   2 BY MR. HONNOLD:                                   2 overview provide your understanding of I guess the
   3    Q. Okay. And just -- just so we're clear and   3 -- the -- for lack of a better term, the structure
   4 I get a clear answer to the question, from        4 and -- and methodology of the -- of the Dresden
   5 Pages 14, 15, 16, to the midpoint of Page 17,     5 registry study?
   6 nowhere have you specifically addressed in your   6    A. It was a prospective registry looking at
   7 own words the topic of differing incidence or     7 patients who were prescribed Xarelto. And they
   8 occurrences of any type of bleeding between       8 were trying to get a look at how it was being
   9 rivaroxaban and warfarin; correct?                9 utilized in a real-world manner and what -- and
  10       MR. SARVER:                                10 the outcomes that occurred thereafter and the
  11          Object to form.                         11 management of those bleeding events that occurred.
  12       THE WITNESS:                               12 So it was -- it wasn't a rigorous trial study.
  13          Do I specifically discuss the           13 This was real-world data, physicians give Xarelto,
  14       differences and bleeding? No, sir.         14 how the patients do, and when they do bleed, how
  15 BY MR. HONNOLD:                                  15 are they managed.
  16    Q. And then on the bottom of Page 17 -- well, 16 Q. And there was not a comparator arm of any
  17 strike that. Let's -- let's go back to Page 16   17 type; correct?
  18 for a moment.                                    18    A. No. This was a prospective registry.
  19       On Page -- on Page 16, you include one     19    Q. Okay. So again, the Dresden registry data
  20 citation that's set forth in Footnote No. 5;     20 doesn't speak at all to the issue of incidence or
  21 correct?                                         21 occurrence of any type of bleeding in rivaroxaban
  22    A. Yes, sir.                                  22 patients as compared to patients on warfarin;
  23    Q. And the Piccini article it looks like      23 correct?
  24 takes on or addresses the issue of comparing I   24       MR. SARVER:
  25 guess the nature and intensity of treatment and  25          Object to form.

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   1       THE WITNESS:                                    1          So yes.
   2          This is a registry that looked at            2 BY MR. HONNOLD:
   3       patients with Xarelto.                          3     Q. All right. So what I want to know is: As
   4 BY MR. HONNOLD:                                       4 it relates to Mr. Boudreaux, what were the -- what
   5    Q. If you go on to Page 18, in terms of any        5 were the literature searches that you performed?
   6 of the statements that you make on Page 18, do you    6     A. I do not recall off the top of my head.
   7 in your own words on the final page of the report     7     Q. Okay. When you did the literature
   8 make any reference or statement regarding any data    8 searches physically, where were you?
   9 and the relative incidence or occurrence rates of     9     A. Home.
  10 any type of bleeding in rivaroxaban as compared to   10     Q. Okay. And so at home, what -- what tools
  11 warfarin?                                            11 or access devices would you have to conduct a
  12    A. No, sir.                                       12 medical record search -- or medical literature
  13    Q. I want to ask you a little bit about what      13 search?
  14 is marked as Exhibit A attached to your report in    14     A. PubMed.
  15 the Boudreaux case. Do you see that?                 15     Q. Okay. So --
  16    A. Yes, sir.                                      16     A. And identify -- and some of this would
  17    Q. And what I'm most interested in is -- in       17 have like -- some of this occurred at the
  18 this reliance material chart there's many source     18 hospital. I can't speak to specifically
  19 documents that you call or state that the source     19 Boudreaux. But in -- in the three, some of this
  20 of the document is journal. Do you see that?         20 was done at the hospital. And then there you have
  21    A. Yes, sir.                                      21 access to more journals. So I would read
  22    Q. Okay. And -- and then in document              22 something on PubMed. Often you can pull it off
  23 category, you say "Literature"; is that right?       23 directly from PubMed. And if you can't, then I
  24    A. I -- I give the reference.                     24 can either request it from the hospital or from
  25    Q. Okay. And -- and so I take it that when        25 the -- the lawyers.

                                               Page 55                                                 Page 57
   1 you are referencing a document that's literature      1  Q. Okay.
   2 and then you say "Journal" or gave a website        2    A. They have a pretty good database.
   3 address, that's basically an article that exists    3    Q. So -- so if you were -- if you were going
   4 out there in the medical literature; is that        4 to be doing a literature review or even
   5 right?                                              5 undertaking some sort of meta-analysis yourself in
   6    A. If -- if I have a reference, that's an        6 your area of expertise, cardiology, and if you
   7 article that's in the literature.                   7 were going to try to submit something for
   8    Q. Okay. And I apologize to you if this was 8 publication, that would be something that you
   9 -- if this was covered in your generic report.      9 would -- you would record and keep track of so
  10 But since it's attached to the Boudreaux report, I 10 that you could list it and describe it in your
  11 want to make sure I understand.                    11 methods section of the paper; correct?
  12        As it relates to your work on the           12      MR. SARVER:
  13 Boudreaux case, did you undertake a specific       13         Object to form.
  14 medical literature search on -- on any specific or 14      THE WITNESS:
  15 -- or unique issue or topic?                       15         If I were to write a paper, do a
  16        MR. SARVER:                                 16      meta-analysis, I would include the methods
  17          Object to form.                           17      to which I had undertaken that
  18        THE WITNESS:                                18      meta-analysis. Yes.
  19          I -- I guess I'm not understanding.       19 BY   MR.  HONNOLD:
  20        So I -- there were times when I would go    20    Q. Okay. Why?
  21        do a literature search on specific          21    A. To be comprehensive.
  22        questions.                                  22    Q. Okay. And so it could be subjected to
  23        MR. HONNOLD:                                23 review; correct?
  24          Okay.                                     24    A. Yes, sir.
  25        THE WITNESS:                                25    Q. Okay. So that somebody looking at your

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   1 work afterwards could undertake some verification   1      THE WITNESS:
   2 for accuracy and whether you're being thorough and 2          I don't understand that.
   3 -- and -- and correct in your work; right?          3 BY MR. HONNOLD:
   4    A. Correct.                                      4    Q. Okay. All right. You -- you might try to
   5    Q. Okay. That would include doing things         5 just make sure you've not picked up things that
   6 like saying what was the database that you went to  6 are duplicate that have been presented in
   7 and what -- the search terms were that you          7 different journals --
   8 employed; correct?                                  8    A. Yes.
   9       MR. SARVER:                                   9    Q. Okay.
  10          Object to form.                           10    A. Sorry to interrupt.
  11       THE WITNESS:                                 11    Q. And then you might have some stated
  12          I'm sorry? One more time.                 12 relevance criteria for what articles would be
  13 BY MR. HONNOLD:                                    13 considered for the analysis; right?
  14    Q. That would include stating the databases     14    A. One more time.
  15 -- database or databases that you went to and the  15    Q. You would have some other form of -- of
  16 search terms that you employed; correct?           16 acceptance criteria in terms of what articles or
  17    A. Correct.                                     17 sources you would be taking on for the purposes of
  18    Q. You would also state what your yield was     18 your analysis; right?
  19 for the particular search in terms of numbers of   19    A. Yes, sir.
  20 -- of articles; right?                             20    Q. Okay. Now, I'm not quibbling with you
  21    A. Correct.                                     21 whether it should have been. But that sort of
  22    Q. You would then describe the nature of        22 analysis and detail is not set forth at all in
  23 review criteria that you used to either say an     23 your report in this case; right?
  24 article was in or out or pertinent or not          24      MR. SARVER:
  25 pertinent? You would have some degree of -- some 25           Object to form.
                                              Page 59                                                Page 61
   1 criteria of pertinence that you would attach;        1      THE WITNESS:
   2 correct?                                             2         That sort of description of the
   3    A. Yeah. That's a little harder to put into       3      analysis.
   4 a methods -- there would be criteria, obviously.     4         I would tell you that the undertaking
   5 And I'm just trying to think how we would -- you     5      of this venture was done the same way that
   6 know, limiting it to prospective registries, for     6      I prepared my general report and how I
   7 instance, or something of that nature.               7      would write a paper or do a presentation.
   8    Q. Sure. But you know there's --                  8      The documentation of that would be at a
   9    A. Yes.                                           9      similar level if I were giving a talk at a
  10    Q. -- ways to do that? Those are things that     10      national level.
  11 -- that -- that -- physicians that are at least     11         I have never -- so this was the first
  12 partially academically based or institutionally     12      deposition. I get what your -- your line
  13 based like you, those are things you learn how to   13      of questions are and to treat this as a
  14 do; right?                                          14      scientific paper as opposed to a
  15    A. Yes, sir.                                     15      presentation perhaps. So I did that to
  16    Q. Okay. And -- like one basic criteria that     16      the best of my abilities. I applied
  17 you would attach, you would have to figure out --   17      scientific rigor. I don't have my
  18 researchers oftentimes have to figure out how to    18      sources. When I give a talk, I don't
  19 not -- make sure that they're not chasing their     19      normally cite all the sources.
  20 tail, that you need to control and -- and get out   20 BY MR. HONNOLD:
  21 duplication -- right -- things that are just        21    Q. Okay. So for the searches that you did --
  22 constantly referencing each other back and forth    22 the PubMed searches that you did then, does
  23 and are kind of the same data; right?               23 Exhibit A include the entire yield of those
  24        MR. SARVER:                                  24 searches?
  25          Object to form.                            25    A. I tried to the best of my ability to

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   1 include the entire yield of what I found of value.  1 to warfarin patients, dabigatran to warfarin
   2    Q. Okay.                                         2 patients, Xarelto to warfarin patients, and then
   3    A. I -- I tried to the best of my ability.       3 tried to make conclusions based -- comparing
   4    Q. Okay. So what I'm trying to get at -- if      4 Xarelto to Pradaxa or Eliquis --
   5 you look at Exhibit A, there are some references    5    Q. Okay.
   6 in there that speak somewhat to comparative data    6    A. -- based on those different cohorts.
   7 in terms of incidence or rate of occurrence of      7    Q. But you did not use any of that from --
   8 different types of bleeds in different              8 information at least in terms -- in cite -- cited
   9 anticoagulants; correct?                            9 form or -- or descriptive form anywhere in your
  10       MR. SARVER:                                  10 report; correct?
  11          Object to form.                           11    A. I don't think that they warranted -- I
  12       THE WITNESS:                                 12 don't think that the value of those reports
  13          I'm reluctant to utilize the data in      13 warranted being included in the report.
  14       the way that the authors were sometimes      14    Q. Okay. And just so I'm clear then, I want
  15       recommending, and therefore I wouldn't       15 -- do you -- what is your best estimate as to how
  16       incorporate it into my reports.              16 you would have structured or -- or -- or made up a
  17 BY MR. HONNOLD:                                    17 search or sert term -- search terms in PubMed that
  18    Q. Okay. Did --                                 18 would have given you the yield of Exhibit A?
  19    A. So, for instance, if there's -- looking at   19       MR. SARVER:
  20 different cohorts and then trying to compare       20          Object to form.
  21 apples to oranges, I don't think that that's a     21       THE WITNESS:
  22 sound conclusion to be making based on those and I 22          How would I -- I'm not sure I
  23 wouldn't include it.                               23       understand. So what would I have done
  24    Q. Okay.                                        24       that resulted in this? This was --
  25    A. I wouldn't change my practice.               25       MR. HONNOLD:
                                               Page 63                                               Page 65
   1    Q. Okay. So just so I'm sure then, did you         1        Yes.
   2 specifically undertake a search for your work on      2    THE WITNESS:
   3 the Boudreaux case to at least try to identify the    3        I can't give you the specific PubMed
   4 literature that exists out there that reports on      4    searches that were done to incorporate
   5 different incidence -- incidence rates or             5    this. These are clinical questions that
   6 occurrence rates of different types of bleeding       6    would come up in my reading of one article
   7 between different forms of anticoagulation,           7    resulting in -- you know, sometimes you
   8 including warfarin, including rivaroxaban,            8    read an article. You want to see the
   9 including apixaban and dabigatran?                    9    citation. I'll pull up the citation from
  10       MR. SARVER:                                    10    that article. That's not a PubMed search.
  11          Object to form.                             11    It's just digging deeper into the
  12       THE WITNESS:                                   12    literature. Sometimes there's PubMed
  13          Did I look at -- I'm not -- so I -- I       13    searches.
  14       looked at registries that compared those       14        Again, I can't give you the specific
  15       different cohorts. And I looked at the --      15    PubMed searches that were done. Sometimes
  16       the data that's there from the randomized      16    I'd have a clinical question that I would
  17       studies.                                       17    think about and I would want to query, so
  18 BY MR. HONNOLD:                                      18    I would -- I would do a literature
  19    Q. Okay. So the -- when you say that you          19    search --
  20 looked at the data that -- when you say that you     20    MR. HONNOLD:
  21 looked at the registries that compared those         21        Okay.
  22 different cohorts, what are you talking about?       22    THE WITNESS:
  23    A. So -- and again, I -- there were a few,        23        -- on that specific question. But I
  24 and it kind of all meld at this -- at this point.    24    can't give you specific -- all the
  25 But the ones that compared the cohort of apixaban    25    specific ones that I had. I can -- so I

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   1      would look up "Xarelto major bleeding          1 referenced and subtract 5 percent from those and
   2      registry" or something of that nature.         2 then divided that remainder in two, you -- half of
   3          A lot of these were provided to me by      3 them would be from counsel, and the other half
   4      the lawyers or by the representatives from     4 would be the product of your literature searches,
   5      each of the three individual companies,        5 best estimate?
   6      and then some of this was also my              6    A. That's -- yeah. That's an impression.
   7      individual search.                             7      MR. HONNOLD:
   8 BY MR. HONNOLD:                                     8         Okay. Great. Why don't we take a
   9    Q. Okay. So can you tell on Exhibit A which      9      quick break.
  10 ones -- which of the literature would have been    10      MR. SARVER:
  11 given to you by lawyers?                           11         Sure.
  12    A. I don't recall. It's -- I can name a         12      THE VIDEOGRAPHER:
  13 couple, if -- if you want a representative. But I  13         The time now is 1:25 p.m. We are off
  14 couldn't go through this exhaustively and          14      the record.
  15 remember, because it was in realtime in going      15      (Brief recess was taken.)
  16 through this.                                      16      THE VIDEOGRAPHER:
  17      So some of this came from the -- for          17         This begins Disk 2 of today's
  18 science day, each side had a compendium of         18      deposition. The time now is 1:35 p.m. We
  19 documents, both the plaintiffs and the defense.    19      are back on the record.
  20 So a fair amount -- so some of these came directly 20 BY MR. HONNOLD:
  21 from there. So the "Pharmacogenetic testing of     21    Q. Doctor, we're back on the record after a
  22 CYP2C9 and" V -- "VKORC1 alleles for warfarin," 22 short break.
  23 that was probably provided to me. "Adverse drug    23      As it relates to Mr. Boudreaux's GI bleed,
  24 events in emergency department patients," I don't  24 his Xarelto use was -- was likely at least a
  25 recall if this is something that was provided to   25 contributing factor to the bleed; correct?

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   1 me or if I had pulled that in the context of prior  1       MR. SARVER:
   2 lectures that I've given. And again, I'm just       2           Object to form.
   3 going randomly. I just -- there's no way to go      3       THE WITNESS:
   4 through all this. "Rivaroxaban and other novel      4           I think that it increased his
   5 oral anticoagulants: pharmacokinetics in healthy    5       likelihood of bleeding.
   6 subjects," the Mueck, I don't recall if this was    6 BY MR. HONNOLD:
   7 one that I specifically asked for or the one -- or  7    Q. And in patients that are on a medicine
   8 one that was provided to me. Girgis one was         8 where they -- such as Xarelto, where they have an
   9 provided to me.                                     9 increased likelihood of bleeding, when the
  10    Q. Do you have any sense in terms of            10 bleeding does in fact occur, it's likely that the
  11 percentage breakdown as to articles given to you   11 -- that the anticoagulant Xarelto was at least a
  12 by counsel versus ones that would have been given 12 contributing factor to the bleeding outcome;
  13 to you by representatives of the companies versus  13 correct?
  14 things that --                                     14       MR. SARVER:
  15    A. Versus that --                               15           Object to form.
  16    Q. -- were generated by your literature         16       THE WITNESS:
  17 searches?                                          17           I -- I think that whenever someone
  18    A. I would say less than five -- 5 percent      18       presents with a bleed on an anticoagulant,
  19 from companies. Those are definitely in the        19       it's hard to argue that it's not
  20 minority. And I would probably split the           20       contributing.
  21 remainder in the course of this.                   21 BY MR. HONNOLD:
  22    Q. By 50/50?                                    22    Q. And that would include Mr. Boudreaux's
  23    A. Yes, sir. So you want -- yes.                23 situation; correct?
  24    Q. So if we were -- if we were to look at the   24    A. Yes, sir.
  25 sum total of the articles or trials that are       25    Q. And so -- I don't mean to mince words with

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   1 you, but I'm a lawyer, so it's kind of what we do,    1       presented with a GI bleed not on
   2 unfortunately.                                        2       anticoagulant. It's hard to say in any
   3      So when you say "whenever someone presents       3       absolute terms. So I think in general it
   4 with a bleed on an anticoagulant, it's hard to        4       -- it can exacerbate, but I don't think
   5 argue that it's not contributing," is another way     5       you could take a specific situation and
   6 to say that fairly that when someone presents with    6       say he would have bled or would not have
   7 a bleed on an anticoagulant, it's probable that       7       bled or he would have bled to a lesser
   8 the anticoagulant was contributing to the bleed?      8       extent.
   9      MR. SARVER:                                      9 BY MR. HONNOLD:
  10          Object to form. Asked and answered.         10    Q. Based upon --
  11      THE WITNESS:                                    11    A. I'm talking in -- I'm sorry. I'm just
  12          Hard to say. I'm not -- so that's why       12 talking populations, not in individuals.
  13      I -- I phrased it that way specifically.        13    Q. Yeah.
  14      You can't say that they wouldn't have a         14    A. In populations, increases the risk and
  15      bleed without an anticoagulant or comment       15 potentially exacerbates. But in an individual you
  16      on the extent of the -- the bleed.              16 can't make that comment with any certainty either
  17          I think in general anticoagulants           17 way.
  18      increase the likelihood of bleeding and         18    Q. But just breaking it down, explaining it
  19      the amount of bleeding. But I -- I -- you       19 the best you can, hard to argue that
  20      can't -- I wouldn't say in every case,          20 Mr. Boudreaux's GI bleed wasn't contributed to by
  21      Okay, He bled on this anticoagulant, He         21 Xarelto, just like you said; right?
  22      wouldn't have bled not on the                   22       MR. SARVER:
  23      anticoagulant. So that's why I phrased          23          Object to form.
  24      it --                                           24       THE WITNESS:
  25      MR. HONNOLD:                                    25          Hard to argue either way. Yes.
                                               Page 71                                                 Page 73
   1          Okay.                                        1 BY MR. HONNOLD:
   2      THE WITNESS:                                     2    Q. In his post-Xarelto life, Mr. Boudreaux to
   3          -- that way.                                 3 your knowledge has not had any other acute GI
   4 BY MR. HONNOLD:                                       4 bleeds; correct?
   5    Q. So what is it that -- that you mean then        5    A. Correct.
   6 when you say "when someone presents on an             6    Q. And in his pre-Xarelto life, have you seen
   7 anticoagulant with a bleed it's hard to argue         7 any records where he was admitted and treated for
   8 that" it wasn't "contributing"?                       8 a prior acute GI bleed?
   9    A. I -- I think it's -- there's no way to          9    A. No. I know he underwent a screening
  10 know -- argue either side, is my point. Because      10 colonoscopy, had some pathology noted,
  11 you can't say it wasn't contributing. I --           11 diverticulum polyps, but nothing that had resulted
  12 there's no way to look you in the eye and say,       12 any clinical overt bleeding.
  13 Okay, That was not a contributing factor. There's    13    Q. Okay. So before Mr. Boudreaux went on
  14 no way to argue that it definitively was a           14 Xarelto, you have not seen any records to suggest
  15 contributing factor, in other words, without the     15 that had any -- had any clinically overt bleeding
  16 anticoagulant, he wouldn't have bled.                16 or an acute gastrointestinal bleed; correct?
  17    Q. Okay. Let -- let's say it this way, that       17    A. Correct.
  18 Mr. Boudreaux's use of Xarelto certainly             18    Q. And since he has stopped taking Xarelto,
  19 exacerbated his bleed; correct?                      19 you've not seen any records to suggest that he has
  20      MR. SARVER:                                     20 had clinically overt bleeding or an acute GI
  21          Object to form.                             21 bleed; correct?
  22      THE WITNESS:                                    22    A. Correct. Correct.
  23          It increased his risk for bleed. I'm        23    Q. In -- I'm going to hand you what we have
  24      not willing to say the extent -- what his       24 marked as Deposition Exhibit No. 2.
  25      clinical course would have been if he had       25      (Exhibit No. 2 was marked for

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   1       identification and attached hereto.)                 1       controlled trials. I think the majority
   2 BY MR. HONNOLD:                                            2       of these, when you read these, they cite
   3    Q. By way of explanation, this is an exhibit            3       as a limitation. You need to have a
   4 which -- which has printouts of a number of                4       direct head-to-head comparison. And so
   5 articles. There are some abstracts. And I will             5       I -- I don't put as much value. I think
   6 tell you as a general matter they tend to focus on         6       it's worth looking at the general trends
   7 comparative data between the various NOACs or              7       and seeing if there's any differences
   8 DOACs, depending upon what term the author uses,           8       compared to what was found in the -- the
   9 and looks at risk of -- of stroke, bleeding, and           9       randomized controlled trials. But I am
  10 mortality amongst the various agents, including           10       wary about comparative data on registries
  11 warfarin, including apixaban, including                   11       and how to use that in a clinically
  12 rivaroxaban, and dabigatran.                              12       meaningful context.
  13       And so my -- my question for you is: In             13 BY MR. HONNOLD:
  14 -- in terms of your work at all on your -- your           14    Q. Okay. And I appreciate that.
  15 generic report or your Boudreaux report, would you        15       But when you would -- when you did your
  16 have ever done a search that would have                   16 PubMed searches, were you trying to generate in
  17 intentionally, by -- by method and design, been           17 terms of responsive articles articles on that
  18 trying to find articles on these topics?                  18 topic, comparative data on stroke and bleeding,
  19       MR. SARVER:                                         19 efficacy and safety, including mortality and
  20          Object to form.                                  20 morbidity between and among the various DOACs and
  21       THE WITNESS:                                        21 warfarin?
  22          Well, this specific one came out on              22    A. My impression of the registry data, again,
  23       November 1st of this past year; correct?            23 when they tried to do the direct comparisons, was
  24       And so my work on the report was -- I'm             24 that they did not provide clinical value. And so
  25       pretty sure it predated this. I know I              25 I didn't do a specific search looking for other

                                                     Page 75                                                    Page 77
   1       signed it November 15th. So I don't know             1 direct head-to-head comparisons of those.
   2       how, you know, getting this one in                   2       I looked at the Graham article when it --
   3       particular would have happened.                      3 I don't remember whose deposition. They kept
   4 BY MR. HONNOLD:                                            4 citing it in that regard.
   5    Q. Okay. So let's -- let's take date -- date            5       I don't find -- I find registry data -- I
   6 restriction out then. Okay.                                6 think if you're going to look at registry data, I
   7       But in terms of looking at the study                 7 think it's a value to look at prospective registry
   8 objective or the methods of the study in terms of          8 data, and you have to take it with a grain of
   9 trying to identify existing data, comparative data         9 salt. And I think you have to look at -- really
  10 on the risks of stroke and bleeding, mortality            10 the -- the thing that you can derive from registry
  11 between and amongst the various DOACs and                 11 data is in the real world is it showing similar
  12 warfarin, were you intentionally trying to find           12 results that was seen in the -- the big trials. I
  13 data -- existing data like this when you did any          13 -- I'm reluctant to extend that to direct
  14 of your PubMed searches that you described before?        14 comparisons.
  15       MR. SARVER:                                         15    Q. Okay. I'm going to hand you what's been
  16          Object to form.                                  16 marked as Exhibit 3, and I'll just represent to
  17       THE WITNESS:                                        17 you that it's some additional data along similar
  18          I -- I looked at comparative data.               18 lines that have been generated from PubMed
  19       And again, my -- my impression of the               19 searches.
  20       comparative data from these registries, I           20       (Exhibit No. 3 was marked for
  21       have not put a significant amount of stock          21       identification and attached hereto.)
  22       into the comparative data, which -- most            22 BY MR. HONNOLD:
  23       people in the practice of EP are not                23    Q. And so my -- I want -- I want to keep
  24       putting as much stock into these compared           24 focusing on the issue of what you were looking for
  25       to the -- the big trials, the randomized            25 when you did your -- your searches.


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   1      MR. SARVER:                                   1       MR. SARVER:
   2         I'm sorry to interrupt --                  2          Object to form.
   3      MR. HONNOLD:                                  3       THE WITNESS:
   4         Excuse me.                                 4          I think it's hard to -- I would never
   5      MR. SARVER:                                   5       say that I have found all the objective
   6         -- Counsel.                                6       data into any -- any time -- no -- no
   7      MR. HONNOLD:                                  7       matter how deep I would dive into a topic
   8         Yes.                                       8       for any sort of endeavor, I would never
   9      MR. SARVER:                                   9       use the -- I would never be able to say --
  10         I -- I just want to make sure. We         10       looking, that I say I found all --
  11      haven't identified the individual articles   11       MR. HONNOLD:
  12      within the last exhibit. Do -- do you not    12          Okay.
  13      want to do that?                             13       THE WITNESS:
  14      MR. HONNOLD:                                 14          -- comparative data. That's not . . .
  15         No. I -- I -- I --                        15 BY MR. HONNOLD:
  16      MR. SARVER:                                  16   Q. All right. Let me ask it this way: If an
  17         Okay. All right.                          17 analysis of your Exhibit A sitting side by side
  18      MR. HONNOLD:                                 18 with Exhibits 2 and 3 showed that Exhibits 2 and 3
  19         I -- I don't necessarily want to          19 contained many articles on the topic generally
  20      identify them individually. We can if you    20 that are not in your Exhibit A, does that mean
  21      want to, if we want to read them into the    21 that your search -- your search would have
  22      record. But I think --                       22 identified them and you decided to not include
  23      MR. SARVER:                                  23 them in Exhibit A or that your search didn't yield
  24         The only problem is when something        24 them?
  25      gets lost.                                   25       MR. SARVER:
                                            Page 79                                                 Page 81
   1      MR. HONNOLD:                                  1       Object to form.
   2          Okay.                                   2      THE WITNESS:
   3      MR. SARVER:                                 3         Probably both. When -- can you repeat
   4          That's -- that's my concern. But        4      it again?
   5      it's -- it's your call. Your call.          5      MR. HONNOLD:
   6      MR. HONNOLD:                                6         Sure.
   7          Okay.                                   7      THE WITNESS:
   8      MR. SARVER:                                 8         I want to make sure I'm --
   9          I won't -- I won't stop you.            9      MR. HONNOLD:
  10      MR. HONNOLD:                               10         Yeah.
  11          And I don't want -- and I appreciate   11      THE WITNESS:
  12      the -- the point. I don't think it's       12         -- I'm not misinterpreting this --
  13      really a critical issue as to what --      13 BY MR. HONNOLD:
  14      MR. SARVER:                                14   Q. And I'm --
  15          Okay.                                  15   A. -- or misstating this.
  16      MR. HONNOLD:                               16   Q. I -- I'm not trying to --
  17          -- what I'm trying to accomplish here. 17   A. I got you.
  18      MR. SARVER:                                18   Q. -- be tricky here.
  19          All right.                             19   A. I'm not -- and I'm not -- I'm not --
  20 BY MR. HONNOLD:                                 20   Q. Okay.
  21    Q. So -- so here's what I'm trying to figure 21 A. I'm just trying to make sure I answer
  22 out: Were you trying to identify all of the     22 you --
  23 comparative data that was out there? Did you 23      Q. All right.
  24 track it all down?                              24   A. -- honestly and --
  25    A. I --                                      25   Q. So you've told me that your Exhibit A

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   1 included some -- some -- some stuff that you got     1regard.
   2 from drug companies; right?                         2        I -- you know, again, the Dresden registry
   3    A. Rarely.                                       3 that looks at outcomes after major bleeds I think
   4    Q. Five --                                       4 is helpful. Dresden is not trying to compare to
   5    A. Yes.                                          5 another -- to Eliquis. They make reference to a
   6    Q. -- percent; right?                            6 historical cohort from warfarin on this. It's --
   7    A. Yes. I'll put that --                         7 it's a historical cohort. So although they make
   8    Q. Okay.                                         8 that statement, I wouldn't -- I wouldn't be
   9    A. -- in the rare.                               9 willing to say based on the Dresden registry it's
  10    Q. Then if you look at the 95 percent and       10 better in terms of bleeding outcomes. I think
  11 split it in half, half of it came from lawyers and 11 it's suggestive, but it's not a direct comparator
  12 half came from your own searches; right?           12 in a prospective manner.
  13    A. Sure.                                        13        So I think you have to be careful with
  14    Q. So in terms of the world of your own         14 these registries what you're going to get. I
  15 searches --                                        15 think the -- there is limited clinical utility and
  16    A. Sure.                                        16 the clinical utility is do these patients -- in
  17    Q. -- I think you've told me generally that     17 the application of the real world, are they
  18 you were trying to find or you were trying to      18 showing the same signals that were seen in the big
  19 yield comparative data, though you couldn't recall 19 studies. I think when you take it after that I
  20 the search terms; right?                           20 think you're starting to make leaps of faith that
  21    A. I -- my search terms on comparative data     21 are not warranted. And that's why I didn't spend
  22 was not a significant part of this. Because of my  22 an inordinate amount of time with comparative
  23 understanding of what the limitations are in       23 registries.
  24 general, when you take a registry and look at      24        Without a direct head-to-head comparison,
  25 comparative data, I -- I think there are           25 it is a challenge. And I think it's -- I don't

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   1 significant limitations, and I'm always wary --      1 think you're doing your patients benefit by making
   2    Q. All right.                                     2 that assessment.
   3    A. -- comparing them. Without having a            3    Q. Why do places like Johns Hopkins and Mayo
   4 direct head-to-head comparison, I don't know that    4 Clinic then do the -- this sort of work?
   5 the clinical value would warrant including.          5    A. I think --
   6    Q. And I appreciate that. But sometimes --        6       MR. SARVER:
   7    A. I'm not answering you. I'm sorry.              7           Object to form.
   8    Q. But sometimes there is some value to           8       THE WITNESS:
   9 knowing what is in the universe of available         9           -- they're suggestive and they can be
  10 information; correct?                               10       a thoughtful clinical question that's
  11    A. Yes.                                          11       raised that should be addressed in a more
  12      I had some -- I had awareness of what was      12       rigorous context. And generally -- and I
  13 available in the universe in terms of data. Do I    13       can't comment on every one of these. But
  14 have every study? No way. I have a finite amount    14       if these authors are doing justice in
  15 of time to write three reports.                     15       their limitations, they have mentioned you
  16      It is -- as an expert, you know when to        16       need a direct head-to-head comparison to
  17 dive into one area versus another. This is not      17       make a definitive assessment. And I think
  18 area that I would use in a clinically meaningful    18       that every one of these, if they're done
  19 way. I've gotten articles such as this ad nauseam   19       right, are going to make those statements.
  20 over the last eight years from different sources.   20       And that's a big blanket statement. So I
  21 And I understand where the context of comparative   21       won't say every one. I think that that's
  22 registries are in terms of the understanding and    22       a fair statement, though.
  23 interpretation of science. I think that you have    23 BY MR. HONNOLD:
  24 to be very limited in terms of what -- the scope    24    Q. Okay. You've seen that clinical trial
  25 of the conclusions that you can reach in that       25 proposed by any manufacturers of any NOAC drug?


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   1    A. No, sir.                                        1 with.
   2    Q. Okay. Have you proposed it to any of the        2    Q. Okay. You certainly know as a practicing
   3 manufacturers?                                        3 cardiologist that drugs within generally the same
   4    A. No, sir.                                        4 treatment class, or family, that over time you'd
   5    Q. Okay. What would you have to do to              5 find some to be -- have greater incidence or
   6 conduct a head-to-head trial like that? How would     6 occurrence rate of particular type of risks as
   7 you structure it if you were going to do it at --     7 compared to others; correct?
   8 at your facility?                                     8       MR. SARVER:
   9    A. I think you'd have to have a cohort of          9          Object to form.
  10 patients on Xarelto, patients on Eliquis, patients   10       THE WITNESS:
  11 on dabigatran, and on Savaysa with similar --        11          I'm trying to give another -- think of
  12 similar inclusion and exclusion criterier --         12       a specific example. Do you have a
  13 criteria, and similar moniting -- monitoring. I      13       specific example?
  14 would hope for an extended follow-up. I think        14 BY MR. HONNOLD:
  15 some of these registries have three-month or less    15    Q. How about hypertensive drugs and sexual
  16 than three-month follow-up, which also argues to     16 side effects?
  17 the limited clinical utility. I'd ideally have a     17    A. Do they have different types of side
  18 two-year follow-up, similar to what you were         18 effects, the different types of --
  19 seeing. And that would be the way to -- to do        19    Q. Or different rates in occurrence?
  20 that.                                                20    A. Different hypertense -- different
  21    Q. Assigned randomly? Patients assigned           21 anti-hypertensives are in different classes of
  22 randomly --                                          22 medications. So . . .
  23    A. Yes. Randomized.                               23    Q. Okay. Bad choice on my part then. Let's
  24    Q. -- to the reagent?                             24 just talk generally then.
  25    A. Randomized and prospective. Yes, sir.          25    A. So let's talk about beta blockers and
                                               Page 87                                                Page 89
   1    Q. All right. Would that cost money?               sexual side effects. And I'm not aware of
                                                           1
   2    A. An -- significant amount of money.            2 differences with that. There are certain
   3    Q. Okay. Where would you get the money?          3 differences with beta blockers and vivid
   4    A. I think that -- either that comes from one    4 nightmares, because one of them -- and I don't
   5 of the companies or you could apply for NIH         5 recall which one -- doesn't cross the blood-brain
   6 funding or something of that nature. But            6 barrier. That would be one example of what you're
   7 historically, these big trials are funded by the    7 -- you're --
   8 companies.                                          8    Q. Did that --
   9    Q. Okay. Have you ever seen a head-to-head       9    A. -- mentioning.
  10 trial on drugs in the same competing class both    10    Q. -- knowledge come from a head-to-head
  11 still with patent protection, a head-to-head trial 11 trial between competing agents?
  12 with different agents?                             12    A. No. That knowledge comes from -- I don't
  13    A. My initial inclination is to say no, but     13 know where the specifics of the -- how the drug is
  14 let me think about that. I would be surprised.     14 made and how they know it doesn't cross the
  15 I'm going outside arrhythmia and into cardiology. 15 blood-brain barrier.
  16 Yeah. Not off the top of my head.                  16    Q. If the sponsors or manufacturers of
  17    Q. Okay.                                        17 certain drugs in the same class are not themselves
  18    A. I don't think so.                            18 going to contribute financially to the performance
  19    Q. So it seems like in any -- in any of those   19 of head-to-head trials, what would be the next
  20 areas, to the extent there might be interest to    20 source of data and information available if
  21 see if head-to-head data would exist, it sounds    21 clinicians were interested in that?
  22 like it could be hard to find head-to-head         22    A. I think an NIH-sponsored study.
  23 competing data for drugs that are in the same      23    Q. Okay. Still a head-to-head study?
  24 class; correct?                                    24    A. Still a head -- I think the only way to
  25    A. I think that is a challenge we always deal   25 definitively answer that question would be with a

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   1 head-to-head study.                                   correct?
                                                           1
   2    Q. Okay. And if a clinician was interested       2    A. Do the --
   3 in comparative data where there weren't             3      MR. SARVER:
   4 head-to-head studies, in terms of your hierarchy    4         Object to form.
   5 of looking at evidence-based medicine type of data 5       THE WITNESS:
   6 on the pyramid that you cited in your report,       6         -- Cochrane data -- the Cochrane
   7 what's the next best source of information to look  7      Collaboratives recognize the limitations
   8 to?                                                 8      of what they're collecting and reviewing?
   9      MR. SARVER:                                    9      MR. HONNOLD:
  10         Object to form.                            10         Yes.
  11      THE WITNESS:                                  11      THE WITNESS:
  12         I don't have -- outside of direct          12         I would expect that. Yes.
  13      prospective head-to-head data, I think        13 BY MR. HONNOLD:
  14      after that, again, it falls short. And I      14    Q. Okay. So within the context of doing --
  15      would put it under a line where I would       15 focusing on the available information and
  16      say that it's providing clinical -- that      16 presenting it in a way most appropriate given the
  17      clinical question can be answered             17 limitations, do you think that the Cochrane
  18      specifically.                                 18 Collaborative does good work?
  19 BY MR. HONNOLD:                                    19      MR. SARVER:
  20    Q. But if someone wanted to look at the         20         Object to form.
  21 available data, what -- where would they go?       21      THE WITNESS:
  22 Like, for example, are you familiar with the       22         I wouldn't do anything to denigrate
  23 Cochrane Collaborative?                            23      what the Cochrane Collaborative does. If
  24    A. The name -- yes.                             24      you want me to comment on a specific
  25    Q. Okay. What is it?                            25      collaborative in terms of the utility in
                                                Page 91                                                  Page 93
   1    A. It's a database that you can query.             1     my  clinical armamentarium,  I'm happy  to
   2    Q. Do they do meta-analyses to look at issues    2       review that.
   3 such as this?                                       3 BY MR. HONNOLD:
   4    A. It can. Yes.                                  4    Q. Have you ever for any particular patient
   5    Q. Okay. And generally, have you seen            5 based upon patient demographic or patient
   6 reputable physicians and research institutions      6 preference prescribed one NOAC over another for --
   7 look to and cite the available data on the          7    A. Patient --
   8 Cochrane Collaborative?                             8    Q. -- any particular patient?
   9    A. I've seen that done. I think that again       9    A. Patient preference always trumps
  10 sometimes these are subject to limitations and you 10 everything. So you provide options and rationale
  11 have to take them -- you have to look at the       11 for decisions. The -- the patient preference
  12 individual.                                        12 trumps the question about anticoagulation or not
  13    Q. Okay. And certainly the Cochrane             13 anticoagulation.
  14 Collaborative is front and center on -- on setting 14    Q. Okay.
  15 out what -- what they do, including potential      15    A. So I have patients with CHADS-VASc of 3
  16 limitations on what they do; correct?              16 that are not on anticoagulation as a patient
  17    A. I don't understand.                          17 preference.
  18    Q. Okay.                                        18    Q. And I meant choice of agent.
  19    A. What do you mean by "potential" --           19    A. I would -- I would extend that to choice
  20    Q. Well --                                      20 of agent also.
  21    A. -- "limitations"?                            21    Q. Okay. And have you, based upon the
  22    Q. -- you've talked about limitations and       22 particular clinical circumstance, medical history
  23 things such as that. Those things are readily      23 of the patient, chosen one NOAC over another due
  24 apparent as the Cochrane Collaborative discusses   24 to certain patient-centered data?
  25 the data and information they make available;      25    A. I wouldn't say patient-centered data.

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   1       You look at individuals -- so I don't           1 to -- so initially it was the general report and
   2 utilize dabigatran or Savaysa. So I -- for the NO     2 then Boudreaux and Orr. I don't remember when I
   3 -- the DOACs, I'll utilize rivaroxaban and            3 did Boudreaux and Orr. I know that I did the
   4 apixaban. When I'm talking to a patient,              4 general report first in that regard. I was being
   5 sometimes I'll push one way or the other. An          5 sent depositions on the specific cases while I was
   6 example would be if they're already on a              6 preparing the official report, so I was juggling
   7 once-daily medication and I'm concerned about         7 those three. So it's hard for me to look at this
   8 compliance, I would veer towards the rivaroxaban.     8 -- and -- and my suspicion is that I didn't -- the
   9 If I'm concerned that they're not going to be able    9 -- these invoices don't include the Boudreaux or
  10 to remember to take it after dinner in a specific    10 the Orr reports and that the -- this -- at the
  11 way -- you know, you want to take the Xarelto        11 time of the last invoice, this was on the general
  12 right after dinner -- I would veer towards           12 report. That's my suspicion.
  13 apixaban. Those are sometimes -- those sometimes     13    Q. So if you had -- so if you had to estimate
  14 come into the clinical scenario. You -- you know,    14 how much time you've spent on the -- on the
  15 that's the art of medicine, is applying it to each   15 Boudreaux case versus the Orr case versus the
  16 patient. And I think that there are times that's     16 general report, is there any way you can do that?
  17 not -- that's not the rule, more the exception.      17    A. I think I spent significantly more time on
  18    Q. Doctor, I'm going to hand you what we've       18 the general report. And I would say -- I would
  19 marked collectively as Exhibit 4. I know these       19 estimate that I spent a similar amount of time on
  20 were provided before Mrs. Orr's deposition earlier   20 the Orr and the Boudreaux reports individually.
  21 this morning. And I don't know whether we had        21    Q. Okay. Can we look at Exhibit 4 then, and
  22 distributed copies of those or not. We'll see.       22 can you -- can you I guess identify the range of
  23 But anyway, I'm going to hand you what's been        23 hours that would be -- that we would slice up to
  24 marked as Exhibit 4.                                 24 cover the work on the general report and then --
  25       (Exhibit No. 4 was marked for                  25    A. I think --
                                               Page 95                                                 Page 97
   1       identification and attached hereto.)            1    Q. -- Orr and Boudreaux?
   2 BY MR. HONNOLD:                                       2    A. I don't think there -- so what I'm saying
   3     Q. Can you tell us what that set of documents     3 is I'm not -- I -- I -- my suspicion is that Orr
   4 is?                                                   4 and Boudreaux are not on this, looking at the --
   5     A. Invoices.                                      5 the -- the date of the last one. And I may have
   6     Q. And are those all invoices related in some     6 stopped it when I finished the formal report and
   7 way to the work that you've done on the Xarelto       7 moved on in terms of doing another invoice. So
   8 litigation?                                           8 I'm -- I think that there's nothing on the Orr and
   9     A. Yes, sir.                                      9 Boudreaux on these specific invoices.
  10     Q. And those invoices go back to capture work    10    Q. Okay. So then --
  11 done beginning on what date?                         11    A. I think.
  12     A. The first one here is March 29th, 2015.       12    Q. Okay. So -- I mean, you can only answer
  13     Q. And are there additional invoices that        13 based upon the information that you think is
  14 were dated 2015?                                     14 right.
  15     A. Yes, sir.                                     15       And so as of today, Exhibit 4, the
  16     Q. Okay. And the work that was done in 2015,     16 invoices there you don't think reflect specific
  17 what was it related to?                              17 time -- time entries that would be related to
  18     A. It was related to science day and the         18 preparation of the Orr and Boudreaux reports;
  19 preparation of science day.                          19 correct?
  20     Q. Can you tell from any of those invoices in    20    A. Correct.
  21 Exhibit 4 when it was that you started working on    21    Q. Okay. So does that mean that your work on
  22 Mr. Boudreaux's case?                                22 the Orr and Boudreaux reports is unbilled?
  23     A. No. It's going to be a challenge.             23    A. It's unbilled at this time. Yes, sir.
  24     Q. Why?                                          24    Q. Okay. And so we're now -- and so if you
  25     A. And the reason it's a challenge is I got      25 wanted to figure out how much that was, time,


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   1 would you go back -- is there some source document         1      You said that you think that you would
   2 you would go back to?                                      2 have spent the same amount of time cumulatively
   3    A. I -- I have a piece of paper where I'm               3 between Orr and Boudreaux as you did on the
   4 keeping track I haven't put into an invoice. I             4 general report?
   5 have a piece of paper where I'm keeping track and          5    A. No. I didn't say that. I said I spent
   6 then create an invoice. But it -- I have a -- I            6 more time on the general report. I said --
   7 have a piece of paper. I don't have the --                 7    Q. Okay.
   8    Q. Where is it?                                         8    A. -- I spent similar time between Boudreaux
   9    A. -- particular invoice.                               9 and Orr.
  10       It's at home. I haven't billed those                10    Q. Okay.
  11 hours at this stage.                                      11    A. But I -- my impression is I spent more
  12    Q. Okay. So all of the work on Orr and                 12 time on the --
  13 Boudreaux would have been done by November --             13    Q. All right. So in Exhibit 4, how much time
  14 November 15th; right?                                     14 is shown on there related to preparation of the
  15    A. The report -- for preparation of the                15 general report?
  16 reports, yes.                                             16    A. Okay. 16.3 hours. And then a conference
  17    Q. Okay. So we're -- we're more than 60 days           17 call October 22nd, that was likely in regard to
  18 out now. What would be your practice in terms of          18 something similar. So I would put -- 16.8 hours
  19 timely invoice and billing?                               19 is what I have here. Again, I can't say after
  20    A. I had a busy holiday season.                        20 this what was specifically for the formal report
  21    Q. Okay.                                               21 or whatnot. But I would -- at least 16.8 hours.
  22    A. And I've been very busy doing this since            22    Q. Okay. What's the last date entry then
  23 the holiday season. So it's not -- not from lack          23 that you have -- that you think is related to the
  24 of -- I'm not hiding anything or anything. I just         24 general report?
  25 haven't got to it.                                        25    A. The last date that I have here, which
                                                     Page 99                                                     Page 101
   1    Q. I'm just trying to figure out how many               1 would be October 22nd.
   2 hours you think you have that's on those --                2    Q. So you may have significant time that's
   3 working on those two -- two reports?                       3 unbilled between October 22nd and November 15th on
   4    A. I -- you know, and earlier I had said I              4 the general report, on Orr, and on Boudreaux?
   5 would estimate 10 to 12 for Orr. I would make a            5    A. Yes, sir.
   6 similar estimate for Boudreaux. I think maybe --           6    Q. Okay. When do you --
   7 I -- I think I did Orr before Boudreaux. And I             7    A. Well, define "significant." Ten hours
   8 think I got better at reviewing the records in a           8 significant each?
   9 more -- in -- in a more succinct manner. So maybe          9    Q. Enough to bill for.
  10 8 to 10 instead of 10 to 12.                              10    A. Yes. Absolutely. There's enough to bill
  11    Q. Can you tell from Exhibit 4 and the                 11 for.
  12 invoices there how many hours you would have spent        12    Q. Okay. When do you plan on doing that?
  13 on preparation of the general report?                     13    A. My plan was after today. I -- because my
  14    A. I think we can -- we can add up.                    14 impression is that after today there's going to be
  15    Q. Okay. How many?                                     15 a little bit of a respite, I hope.
  16    A. You want me to add up? Okay. And I don't            16    Q. How much time did you spend specifically
  17 know if there are others in the other one that I          17 preparing for the two depositions today?
  18 haven't billed yet that would still be -- so I            18    A. For today, I would say over the last
  19 don't know that this is the end of the formal             19 week -- you know, so I had focused on the general
  20 report, the preparation.                                  20 report for the most part. Over the past week, I
  21    Q. And --                                              21 would say on average an hour a day I was able to
  22    A. But I'll give what I have here.                     22 do review.
  23    Q. Here's what I'm -- I'm just trying to               23    Q. Okay. So there may be --
  24 bookend this because you've told me a couple of           24    A. On average --
  25 different things.                                         25    Q. Okay.

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   1    A. -- again. So I woke up this morning,           1       CHANGES AND SIGNATURE
   2 reviewed for an hour and . . .                       2 WITNESS NAME: SAMMY KHATIB, M.D.
   3    Q. So ballpark, there may be another 7 to         3 DATE OF DEPOSITION: Saturday, January 21, 2017
   4 10 hours for work related to preparing for the  4
   5 deposition?                                     5        PAGE LINE     CHANGE              REASON
   6    A. Ballpark, yes, sir.                       6        ____ ____ _______________       _______________
   7    Q. Okay. And that would be unbilled time     7        ____ ____ _______________       _______________
   8 that you plan on billing for as well?           8        ____ ____ _______________       _______________
   9    A. Yes, sir.                                 9        ____ ____ _______________       _______________
  10    Q. Okay. Were there meetings with counsel   10        ____ ____ _______________       _______________
  11 related to either the Orr or -- or Boudreaux   11        ____ ____ _______________       _______________
  12 depositions?                                   12        ____ ____ _______________       _______________
  13    A. On the phone, no. In person, yes.        13        ____ ____ _______________       _______________
  14    Q. Okay. And would that be included in what 14        ____ ____ _______________       _______________
  15 you just said was the hour additional time?    15        ____ ____ _______________       _______________
  16    A. Yes, sir.                                16        ____ ____ _______________       _______________
  17       MR. HONNOLD:                             17        ____ ____ _______________       _______________
  18         Okay. All right. Let's take another    18        ____ ____ _______________       _______________
  19       short break. I may be close to being     19        ____ ____ _______________       _______________
  20       done. But . . .                          20        ____ ____ _______________       _______________
  21       MR. SARVER:                              21        ____ ____ _______________       _______________
  22         Okay.                                  22        ____ ____ _______________       _______________
  23       THE WITNESS:                             23        ____ ____ _______________       _______________
  24         I've heard that before.                24        ____ ____ _______________       _______________
  25       THE VIDEOGRAPHER:                        25        ____ ____ _______________       _______________

                                              Page 103                                                  Page 105
   1        The time now is 2:09 p.m. We are off          1          WITNESS' CERTIFICATE
   2     the record.                                2
   3     (Brief recess was taken.)                  3   I have read or have had the foregoing
   4     THE VIDEOGRAPHER:                          4 testimony  read to me and hereby certify that it is
   5        The time now is 2:21 p.m. We are back 5 a true and correct transcription of my testimony
   6     on the record.                             6 with the exception of any attached corrections or
   7     MR. HONNOLD:                               7 changes.
   8        Doctor, we're back on the record after  8
   9     an afternoon break. I've looked at my      9
  10     notes, and I'm able to say I don't have   10
  11     any other questions for you. So I thank   11
  12     you for your time and courtesy. We just   12
  13     make sure that we leave exhibits marked 1 13
  14     through 4 here, and I think we're done.   14
  15     MR. SARVER:                               15
  16        And we have no questions.              16
  17     THE VIDEOGRAPHER:                         17
  18        The time now is 2:21 p.m. Today's      18               ______________________
  19     deposition of Dr. Sammy Khatib consisting 19                 WITNESS' SIGNATURE
  20     of two disks is now concluded.            20
  21                                                     21
  22                                                     22
  23                                                     23 PLEASE INDICATE
  24                                                     24 [] NO CORRECTIONS
  25                                                     25 [] CORRECTIONS; ERRATA SHEET(S) ENCLOSED


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   1            CERTIFICATE
   2   This certification is valid only for
   3 a transcript accompanied by my original signature
   4 and original seal on this page.
   5   I, AURORA M. PERRIEN, Registered Professional
   6 Reporter, Certified Court Reporter, in and for the
   7 State of Louisiana, as the officer before whom
   8 this testimony was taken, do hereby certify that
   9 SAMMY KHATIB, M.D., after having been duly sworn
  10 by me upon the authority of R.S. 37:2554, did
  11 testify as hereinbefore set forth in the foregoing
  12 105 pages; that this testimony was reported by me
  13 in the stenotype reporting method, was prepared
  14 and transcribed by me or under my personal
  15 direction and supervision, and is a true and
  16 correct transcript to the best of my ability and
  17 understanding; that the transcript has been
  18 prepared in compliance with transcript format
  19 guidelines required by statute or by rules of the
  20 board; and that I am informed about the complete
  21 arrangement, financial or otherwise, with the
  22 person or entity making arrangements for
  23 deposition services; that I have acted in
  24 compliance with the prohibition on contractual
  25 relationships, as defined by Louisiana Code of

                                                   Page 107
   1 Civil Procedure Article 1434 and in rules and
   2 advisory opinions of the board; that I have no
   3 actual knowledge of any prohibited employment or
   4 contractual relationship, direct or indirect,
   5 between a court reporting firm and any party
   6 litigant in this matter nor is there any such
   7 relationship between myself and a party litigant
   8 in this matter. I am not related to counsel or to
   9 the parties herein, nor am I otherwise interested
  10 in the outcome of this matter.
  11
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  15           AURORA M. PERRIEN, CCR, RPR
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